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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 CENTER FOR BIOLOGICAL
 DIVERSITY, et al.,

            Plaintiffs,

            v.                                            CASE NO. 1:21-cv-00119 (RDM)

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, et al.,

            Defendants.



                              DECLARATION OF AMBER CROOKS

I, Amber Crooks, make the following declaration:
       1.          I am a resident of Naples, Florida.

       2.          I am competent to make this declaration. I provide this declaration based upon

my personal knowledge. I would testify to the facts in this declaration under oath if called upon

to do so.

       3.          I am a member of the Conservancy of Southwest Florida (“Conservancy”), and I

am also employed by Conservancy as the Environmental Policy Manager.

       4.          Conservancy is a 501(c)(3) nonprofit that focuses on environmental conservation

in Southwest Florida. Our water policy work addresses issues at local, statewide, and federal

levels. Conservancy was founded in 1964 and has grown in membership to approximately over

3,600 dues-paying members, and approximately over 2,000 additional donors and supporters.

The mission of Conservancy is to protect the natural environment, species, and habitats of

Southwest Florida, summed up in our motto: “Our Water, Land, Wildlife, Future.” We do this



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through four main program areas: 1) Science and Research, 2) Policy and Advocacy, 3) Wildlife

Rehabilitation, and 4) Environmental Education.

       5.      Conservancy’s Policy and Advocacy program focuses on protecting water,

wildlife, and land. In protecting wetlands and waterways, we work to promote better water

management and resource protection by working with stakeholders and decision-makers to

ensure that stringent water management tools, regulations, and best practices are in place and

utilized. In protecting wildlife and endangered species, we work to prevent harm by preserving

species’ habitats from environmental changes, conserving landscape corridors and critical

habitat, and ensuring that protections are strong to recover imperiled species populations. We

perform this work at the local, state, and federal levels.

       6.      Conservancy’s Wildlife Rehabilitation program operates the von Arx Wildlife

Hospital, which treats approximately 4,200 injured, sick, or orphaned native animals on an

annual basis. These native species include small mammals, birds (including migratory and

protected birds), turtles, gopher tortoises, and many others.

       7.      Protection of water resources such as wetlands and conservation of native species

are core programmatic areas for Conservancy’s policy work.

       8.      I have a deep personal commitment to the protection and recovery of Florida’s

protected species, and I engage in both professional and personal activities to further this

commitment.

       9.      I have an aesthetic and scientific appreciation of the Florida panther in the wild,

and travel to panther habitats in hopes of viewing and photographing the elusive panther. I enjoy

recreating in panther habitat areas, including hiking, camping, wildlife viewing, and nature

photography.



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       10.     I graduated with a B.A. in political science from Stetson University in 2003, and I

received a Masters of Public Administration in Environmental Policy and Planning from Florida

Gulf Coast University in 2011.

       11.     Through my work at Conservancy and through my formal education, I have

studied endangered species policy issues, including critical habitat designation, Habitat

Conservation Plans, and the Florida panther, among other topics. As the environmental policy

manager at Conservancy, I specialize in wildlife policy and am the organization’s listed

(endangered and threatened) species expert. Endangered species that my work focuses on

include, but are not limited to, Florida panthers, bonneted bats, and smalltooth sawfish. My job

duties also include overseeing policy staff members’ technical analysis of issues related to state

and federal permitting processes.

       12.     Southwest Florida, as a region, has many endangered and threatened species that

receive regulatory review by federal agencies as required under the Endangered Species Act

(“ESA”). One such species is the Florida panther, one of the most endangered species on the

planet, with only 120 to 230 adults remaining in the wild. According to the U.S. Environmental

Protection Agency’s (“EPA”) Biological Evaluation in this case, this region had the highest

concentration of ESA consultations in all of Florida from 2014-2018. See Dkt. No. 031-1, at 30-

32 (Exhibit A, Excerpt from ESA Evaluation for Clean Water Act Section 404 Assumption by

the State of Florida).

       13.     One of the main tools Conservancy uses to protect species, their habitats, and

waters is the public commenting process. When there is a proposed agency action, we review

the applications and documents; determine the scope and effect it would have on the wildlife and

waters we seek to protect; utilize geographic information system (GIS) analysis, a data mapping



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tool that allows us to visually understand the affected geographic environment; review wetland

impacts and potential means to avoid, minimize, and mitigate those impacts; review applicable

rules and laws; and submit comment letters. As with this case, we also engage in litigation when

needed to carry out our organization’s goals.

Conservancy’s Engagement on Florida Assumption of Section 404

       14.     Conservancy has dedicated considerable resources to opposing Florida’s

assumption of the Clean Water Act’s Section 404 program, in light of the State’s poor permitting

track record in environmental protection and the State’s failure to demonstrate that it would

provide the same level of protection, rights and remedies available under federal law, and that its

program meets the requirements of federal law.

       15.     Between 2017 and 2020, I advocated on behalf of Conservancy, against efforts to

pursue assumption on Section 404 in Florida. Among other things, I testified before the State

legislature, participated in the State’s rulemaking process (via comments and hearings), regularly

raised concerns directly with the Secretary of Department of Environmental Protection and his

staff, and helped engage our membership in advocacy against the proposed program at the state

and federal levels.

       16.     In 2018, we launched a campaign to urge Governor Rick Scott to veto a quickly

passed bill that authorized the Department of Environmental Protection to pursue seeking

approval from EPA to administer Section 404. This included our supporters sending more than

700 emails in opposition, online advertisements that reached more than 70,000 viewers, and

advertisements and opinion pieces published in local newspapers. We submitted comments to

the U.S. Army Corps of Engineers (“Corps”) as it was considering modification to the list of

waters that could be assumed by the State under Section 404. In our comments, we submitted a



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comparison of the 2014 and 2017 navigable waters lists, urged the Corps to use its 2017 list as

the starting point for a retained waters list, and identified dozens of waterways in Florida

counties that should be considered for navigability in addition to the those listed by the Corps. In

2019, we sent an action alert to our members and supporters asking them to contact the new

Governor, Ron DeSantis, to urge him to reverse course on 404 assumption, as he had made

promises about protecting our water quality.

          17.   From 2018 to 2020, we participated in the State’s rulemaking process, the final

steps of which were conducted at the height of uncertainty around the coronavirus pandemic

(February to April 2020), urging the State not to rush the process when the community was

facing a public health emergency involving stay at home orders, closed schools and scarce

household supplies, and requiring families to focus on protecting their health, livelihood, and

well-being.

          18.   After the State submitted its 404 application to EPA in August 2020, and EPA

initiated a public comment period in September 2020, Conservancy, along with other Plaintiffs

in this action, objected to the incompleteness of the application in October 2020, and in

November 2020 submitted comprehensive comments objecting to Florida’s proposed program as

grossly inadequate and unlawful under federal law. See Dkt. No. 031-1, at 33, 43 (Exhibits B

and C).

          19.   After EPA published its notice approving Florida’s program and gave it

immediate legal effect on December 22, 2020, Conservancy’s counsel notified EPA and the

other federal defendants, as well as the State, that EPA’s transfer of authority was unlawful. See

Dkt. No. 031-1, at 99-101 (Exhibit D). On December 28, 2020, EPA responded by claiming for

the first time that the agency’s December 22, 2020, action did not have to meet the 30-day



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requirement or codify the State program because it was an informal adjudicatory order, rather

than a rule. See Dkt. No. 031-1, at 102-104 (Exhibit E).

        20.     On January 14, 2021, Conservancy joined with the other Plaintiffs in this action to

filed the present suit.

        21.     Conservancy was harmed, and continues to be harmed, by EPA’s decision to

approve the State-assumed 404 program, and the other agency actions related to that decision

which are also challenged in this case. Florida’s implementation of the unlawful 404 program

harms Conservancy’s ability to carry out its organizational mission of protecting the environment

and wildlife, and harms members’ aesthetic, recreational, and other interests.

Organizational Harms from the State Program

        22.     EPA’s approval of the State’s 404 program causes Conservancy to divert

resources, threatens wetlands and wildlife, and undermines Conservancy’s ability to fully realize

its mission by depriving the organization of information, rights, and remedies available when

Section 404 is administered by the Corps as it has been for decades.

        23.     To begin, Conservancy was harmed by Florida’s incomplete assumption

application. The application relied on a “technical assistance” process in a “forthcoming”

biological opinion that was not produced until weeks after the public comment period

ended. This prevented Conservancy from fully commenting on this vital component of Florida’s

program. This harmed Conservancy’s ability to achieve one of its core missions—to protect

listed species and their habitat—by providing EPA with its comment on the inadequacy of such

an approach and the more protective options available and required. Moreover, since the

“technical assistance” process in the biological opinion was not produced until November 2020,




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the 120-day review clock would have run through March 2021, well into the next Presidential

administration where many bad environmental decisions were stalled, reversed, or revised.

       24.     Once Florida was allowed to assume the 404 program, it restarted the review

process for all applications received from the Corps. This meant Conservancy was forced to re-

engage in our advocacy on pending 404 permits of concern to us, but now all at once. In

addition to ensuring that our existing comments were forwarded to the State, we also had to

submit new comments to the State for each 404 project impacting our mission, tailored to the

specifics of the new program. Since then, because applications for many projects Conservancy

has been engaged on for years were submitted or transferred at around the same time, those

projects landed on a similar review schedule for the expedited state process, requiring us to

monitor developments on the permit applications all at once, rather than if the permits had

remained on their own natural timeline under the Corps’ jurisdiction. As a result, we are

continuing to divert staff time from other important local and state matters affecting species and

water quality to keep up with the state 404 process. This includes reassigning a substantial

amount of several employees’ job duties.

       25.     In addition to troubling projects progressing along the same state timeframe,

applications are being processed more quickly than under the Corps’ 404 program. The State’s

expressed goal in assuming 404 authority was to streamline and expedite permitting. The

quicker processing times means the Conservancy has less time to try to obtain project

information, review and analyze the information, and voice concerns. For instance, over the

course of several years, Conservancy opposed several projects in eastern Lee County and eastern

Collier County, including those that at the time were part of the proposed Eastern Collier

Multiple Species Habitat Conservation Plan (HCP) that was being considered by the U.S. Fish



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and Wildlife. Projects that comprised the HCP were transferred or submitted to the State upon

404 assumption, as well as major projects across the county border in eastern Lee County.

Under the State’s program, these projects are being processed at a much quicker pace that makes

the Conservancy question whether the impacts are adequately being considered as compared to

our experiences under the federal program.

       26.     In this shorter period of time, Conservancy also has to divert considerable staff

time in order to monitor and obtain information about projects as compared to under the Corps’

404 program. First, as explained more fully below, Conservancy no longer has the analyses

available under NEPA and ESA while the State implements the program. In addition, it is

incredibly difficult to obtain project information under the State’s program. The State’s main

database for collecting project information, Oculus, is incredibly difficult to navigate and often

has little information available, especially as to a project’s impacts to species. Therefore,

Conservancy has dedicated a significant amount of resources to tracking the State’s “Oculus”

search engine to figure out where and how to access 404 application documents. Even when

records are available, frequently it is unclear what each document is for, who the author is, or

even whether a particular document is a final or a draft. This requires the Conservancy also to

have to contact the State via phone and email to ascertain what various documents found in

Oculus mean.

       27.     Under the State’s program, Conservancy’s ability to comment on a permit

application is also significantly hindered. Despite the State’s recent draft annual report

applauding its online public commenting system as encouraging comments, in reality the

system’s design has had the opposite effect. As a core part of Conservancy’s work, Conservancy

has expertise and designed strategies for submitting public comments on its behalf and on behalf



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of its members. DEP’s system is burdensome because it requires members of the public to

register for an account through a multi-step registration process, as opposed to simply accepting

public comment sent via email or a one-click online docket. In our experience, the longer and

more cumbersome a process is, the less likely members of the public are to complete the process

and post a comment. And because of Florida’s system, Conservancy has had to expend still

more time and divert more resources to develop new strategies to comment in an accessible way

and to encourage its members and try to facilitate their ability to comment in a meaningful way.

       28.     To make matters worse, under the State program public notices are often issued

without much, if any, detail on the impacts to listed species, a primary concern of

Conservancy’s. In its MOA with FWS and EPA, the State said that it would complete its species

review, the “technical assistance” process, prior to issuing public notices to ensure the public

would have this information to comment on. But this has not been the case. In the public

notices on projects of concern to Conservancy, not one has contained the proposed required

permit conditions needed to protect federally-listed species. Nor has Conservancy been able to

obtain this information typically through Oculus. Where Conservancy has been able to obtain

information on the impacts to federally-listed species, this has typically been only after the close

of the public comment period. Again, with the lack of information provided, Conservancy must

not only re-allocate staff time toward trying to obtain it or expend resources on experts to

develop it, but must do so in time to attempt to comment on project applications. Sadly, since

the proposed permit conditions revealed through the technical assistance process has not been

available before public notices are issued, Conservancy is greatly hindered in its mission to

advocate for proper species protections. This increase in work and required resources has




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redirected Conservancy’s resources and staff capacity that were dedicated to other aspects of the

organization’s core planned conservation programs.

       29.        In addition to not having species related project information before public notice

issuance, the State’s “technical assistance” process overall has been a black box. Whether

checking Oculus or asking the State and federal agencies directly for information, there is rarely

much analysis documented or publicly shared on projects pending with the State. Without the

benefit of the ESA’s analyses, Conservancy is again left having to redirect staff and resources

from other core work to try to assess the impact of projects on species.

       30.        While attempting to obtain this information from the agencies, Conservancy has

also been met with confusion by State and Federal staff who seem unclear as to their agency’s

duties under the “technical assistance” process. On several occasions on different projects,

Conservancy was told by Florida Fish and Wildlife Conservation Commission (FWC) that any

analysis for federally-listed species would be conducted by USFWS. USFWS, which has

historically been the expert on federally-listed species, has claimed the opposite, indicating that

at best they could only provide non-regulatory recommendations to the State on these species.

This has left an obvious void on who, if anyone, is actually looking at impacts to federally-listed

species. Conservancy has expended and diverted staff time in order to pressure and stay on top

of both agencies to ensure one of them will consider federally-listed species. For instance, for

the Troyer mine project discussed below, Conservancy urged USFWS to review impacts to

federally-listed species especially given the large scale of the mining operation and its location in

the panther’s last remaining habitat. USFWS at first seemed unsure of the project’s status, but

later confirmed it would plan to comment, and that it would need to request additional time in

order to do so.



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       31.     Conservancy also has concerns with the State’s compliance with the requirements

laid out in the “technical assistance” process. On at least one occasion, the State failed to include

a permit condition required by USFWS to protect species on a project of concern to the

Conservancy. Namely, in its permit for a large residential development called Fleischmann

Parcel (AKA Isles of Collier Preserve), the State failed to include a USFWS required condition

for the eastern indigo snake. In other instances, the State’s permit conditions are vague and

subject to interpretations that could lead to insufficient protection of listed species.

       32.     One example of the State’s concerning technical assistance process involved

Babcock Property Holdings, LLC’s, 404 permit application to expand its nearly 18,000-acre

property development with an 8,711-acre project area located in the Tidal Caloosahatchee River

Watershed. See Dkt. No. 031-1, at 19-20 (describing project and concerns). During the

application process, the Conservancy voiced concerns over the potential harms to the caracara

and the Florida bonneted bat. This project was permitted on November 19, 2021. Prior to and

again after permit issuance, Conservancy voiced its concerns regarding the technical assistance

process. First, FWC’s final proposed permit conditions for listed species were only available a

few days prior to permit issuance and well after the close of the public notice window. Further,

Conservancy could not locate any information—not in the permit, not in FWC comments, and

not in the public record—that assured us USFWS had conducted a proper analysis of

jeopardy/adverse modification of critical habitat for this project, or a proper analysis of whether

or not take would occur, or if they adequately assessed take associated with this project. This is

particularly of concern, as there are significant nesting resources for the threatened crested

caracara that can be affected in the project area. The permit condition requiring the applicant to

follow conservation measures to protect the caracara is only triggered “if nesting is observed”



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even though there were documented nests within the impact area, the caracara is a non-migratory

bird, and it uses its territory year-round. The permit acknowledges an estimated take of up to

five different pairs of caracara, but stops short of setting a take limit from this project.

        33.     Similarly, there is also Florida bonneted bat presence that will likely be impacted

by the activities for this project. The USFWS had acknowledged that there is likely to be take of

the bonneted bat as well. See Attachment A (Jan. 2022 Conservancy Comments). However,

again, the permit does not assess take to Florida bonneted bat or provide a take limit associated

with this project. The State’s wholly inadequate technical assistance process harms

Conservancy’s ability to carry out its organizational mission of protecting the environment and

wildlife, and harms members’ aesthetic, recreational, and other interests.

        34.     Conservancy is also harmed by the loss of environmental review of projects under

NEPA. This statute not only provides more scrutiny for water resources, species, and their

habitat, but also provides the Conservancy with vital information to vet the impacts of a

proposed project and additional opportunities for public comment. In order to carry out our

mission of protecting species and wetlands, we are now obligated to hire our own experts or

divert significant staff time to engage in alternatives analyses, again draining our resources that

would go elsewhere.

        35.     The NEPA review process provides Conservancy with an opportunity to engage

in the Corps decision-making, which can lead to better environmental decisions, opportunities

that are lost now while Florida is allowed to continue administering this 404 program. For

example, four proposed large-scale projects in Lee and Collier counties were previously subject

to NEPA, under which an environmental impact statement (“EIS”) was determined to be

required. As a result of this decision, two of the applications – which would have impacted over



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9,000 acres – were either suspended or withdrawn. These projects are now under consideration

by FDEP for State 404 permit without the benefit of a NEPA EIS review; Old Corkscrew

Plantation (Kingston), Troyer Mine, and FFD were three of the four project areas considered in

the former Army Corps determination. See Dkt. No. 031-1, at 235 (Exhibit P, correspondence

between permit applicants and the Corps documenting the EIS as the reason for

withdrawal/suspension).

        36.     The loss of critical information and procedural safeguards afforded by NEPA has

significantly set back our established methods of advocating for and protecting water resources,

species and their habitats, and as the pending 404 project applications discussed above

demonstrate, these losses will continue to occur while Florida administers the 404 program.

        37.     Furthermore, Conservancy has challenged 404 permits in federal court as one of

our advocacy tools to further our mission, and we are harmed by the loss of federal court as a

venue when permits are issued by the State. Litigating in federal court provides us with the

necessary access to protect the interests of our organizational mission and our members. We do

not have the same access to state courts because of the significantly higher costs of state court

litigation and the anticipated drain on our resources to litigate at the state level.

        38.     With assumption, there is now an entirely different legal scheme to challenge

wetlands permitting in Florida, through the Division of Administrating Hearings (“DOAH”).

Because legal proceedings in front of DOAH are conducted from scratch and are not treated as

administrative record review cases, Conservancy would have to incur considerable expense to

hire expert witnesses to bring a legal challenge. Expert witnesses cost upwards of thousands of

dollars to retain on a case, which is thousands of dollars Conservancy would have to divert from




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other programmatic goals in order to litigate in state court. This also means that Conservancy

may be restricted from challenging 404 permits.

       39.     Conservancy also certainly will not be able to utilize the same tools as it had

under the federal regime. In state administrative proceedings, we do not have the benefit of

environmental analyses and administrative records around which we can build our cases that

federal NEPA and ESA processes affords. Rather, in state court, we have to build our cases from

the ground up, conducting our own investigations and hiring our own expert witnesses. A case

before Florida’s Division of Administrative Hearings (“DOAH”) can easily run upwards of

several hundreds of thousands of dollars, factoring in expert witnesses, attorneys’ fees, and

time. With our limited budget, one permit challenge in state court could eat up a significant

portion of the policy department’s budget. In order to engage in such costly litigation we would

have to 1) raise additional money to fund these challenges, 2) pull funds from other areas within

our existing operating budget, or 3) forego certain litigation, as funding is not included in our

budget. All three options would damage our ability to carry out our mission.

       40.     It is my understanding that Conservancy would also risk exposure to a mandatory

“fee-shifting” provision in which we risk being liable for the costs and fees to engage in

litigation, costs, and fees that we would not automatically be subject to if we retained the ability

to litigate in federal court. Such a fee-shifting provision further diminishes our ability to engage

in litigation, because we are required to weigh this financial risk in addition to the above costs,

regardless of how strong our claim might be.

       41.     It is also my understanding that it would be significantly harder for Conservancy

to even bring a permit-specific lawsuit for environmental harms on behalf of our members,




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because we would be required to show harm to a significant number of our members under

Florida law, rather than to just one member under federal law.

       42.     The lack of procedural safeguards, and in turn, a weaker system for evaluating

and testing the environmental impacts of permitting, also significantly increase the risk of harms

to Florida’s water resources, species, and their habitats, environmental harms that are felt

personally by me as a member of Conservancy and a long-time resident of Naples. I regularly

partake in outdoor activities such as hiking, camping, observing wildlife, and nature

photography. Some of the areas that I like to visit include, but are not limited to, Big Cypress

National Preserve, Fakahatchee Strand Preserve State Park, Picayune Strand State Forest, Collier

Seminole State Park, Florida Panther National Wildlife Refuge, Corkscrew Regional Ecosystem

Watershed’s Corkscrew Marsh, Bird Rookery Swamp and Flint Pen Strand, Corkscrew Swamp

Sanctuary, Stormwater Treatment Area 5, Babcock Ranch Preserve, Fisheating Creek,

Okaloacoochee Slough State Forest and Spirit of the Wild Wildlife Management Area, and

county owned conservation properties such as those in Collier and Lee counties.

       43.     If Florida is allowed to continue operating this unlawful 404 program,

Conservancy would be irreparably harmed in its ability to carry out its mission of protecting

native and endangered species, their habitats, and waters.

Organizational and Membership Harms From Pending Project Application

       44.     The Conservancy is particularly concerned about certain permit applications

before the State 1 for major projects.




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 https://depedms.dep.state.fl.us/Oculus/servlet/login and
https://prodenv.dep.state.fl.us/DepNexus/public/searchPortal.
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       45.     Troyer Mine. According to DEP’s online search portal, the Corps transferred a

404 permit application by Troyer Brothers Florida, LLC, for construction and operation of a lime

rock and fill dirt mine, to the State, in state application number 0292013007. The proposed

project includes the extraction of approximately 256,000 cubic yards of crushed lime rock from

the project site. 2 The project was withdrawn March 1, 2022 and later resubmitted March 31,

2022 with the state application number of 0292013008.

       46.     Troyer Mine would cover 1,803.51 acres and would affect waters that are part of

the Big Cypress Swamp Watershed. The project site is within the consultation areas for several

endangered and threatened species, including the Florida panther, bonneted bat, red cockaded

woodpecker, Audubon’s crested caracara, the Florida grasshopper sparrow, the Everglade snail

kite, and the Florida scrub jay. Additionally, the site has suitable habitat for the threatened

eastern indigo snake and wood stork. Other listed species observed on the site include the bald

eagle, Florida sandhill crane, roseate spoonbill, limpkin, little blue heron, snowy egret, tricolored

heron, white ibis, American alligator, and Big Cypress fox squirrel. The project is also within

three wood stork colony Core Foraging Areas. See Dkt. No. 031-1, at 130-153 (Exhibit G,

Public Notice, Permit Application No. SAJ-2008-03793).

       47.     While the application for Troyer Mine was pending before the Corps,

Conservancy submitted public comments opposing the project. See Dkt. No. 031-1, at 154-66

(Exhibit H). Ninety percent of the project site is in Florida panther Primary Zone habitat,

meaning it is habitat essential for the continued survival and recovery of the species. This

project site is about 90% Primary Zone and Adult Breeding Habitat for the Florida panther. Due




2
 State 404 File for Troyer Mine: https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
documents/ST404_292013/gis-facility!search.
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to the proposed placement of the mine between two public lands and important panther habitat,

linkages will be fragmented. Expert review prepared for the FDEP Public Notice by Dr. Robert

Frakes in August 2022 identified that Troyer Mine is the major current link for panthers to access

habitat east of the mine, which includes large segments of panther habitat. Cumulatively with

other proposed projects currently being reviewed by the state of Florida, about 7,400 acres (~30

square kilometers) of Adult Breeding Habitat will be lost.

        48.    Vehicular collisions are the leading cause of known deaths for the Florida

panther. Troyer Brother’s proposed project would result in at least 1,160 daily truck trips to or

from the site, adding heavy traffic to already deadly roadways for panthers.

        49.    Troyer Mine would also likely destroy 172 acres of wetland that are part of

regional flowways, or connected strands of water that comprise a wetland ecosystem within the

Density Reduction Groundwater Resource Area of Lee County, a large area of protected

wetlands, agricultural lands, and conservation lands. This area includes preserved lands of

Imperial Marsh Preserve, Corkscrew Regional Mitigation Bank, and Southwest Florida

International Airport mitigation lands. Wetlands in this area are critical to preserving aquifers

and water supply for Lee County and surrounding areas; for example, water from rain runoff

naturally flow to and re-charge the aquifers. These wetlands also provide panther habitat. As

explained in our attached Comments (See Dkt. No. 031-1, at 154-66 (Exhibit H)), the mining

project would likely impact evaporation rates of water supply due to seepage from wetlands into

the mines, resulting in a lower water table, with the potential for adjacent wetlands to be drained

as a result.

        50.    For the state 404 program, within 10 days of a completeness determination, DEP

must provide public notice of the proposed application, which opens a 30-day comment period



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for most permits that is extended to the close of any public meeting, if one is held. If EPA does

not comment or signal it may comment or object, FDEP generally has 60 days from the close of

the comment period (or its determination that the application is technically complete) to make a

final permit decision. If a request for additional information is issued, applicants have 90 days to

respond, though, they may respond sooner.

       51.     Troyer Mine went to public notice twice (on November 5, 2021, after the

application was first before the State, and on July 8, 2022, after the application was resubmitted).

At neither junction were proposed permit conditions to address federally-listed species made

available either in Oculus or in the Public Notice.

       52.     Despite the potential impacts to listed species, including the Florida panther, the

July 2022 Public Notice stated that “The Department has requested review from the Florida Fish

and Wildlife Conservation Commission (FWC) and the US Fish and Wildlife Service (USFWS).

FWC and USFWS contacted the Department to notify us that they did not have any comments

regarding the ST404_292013-008 application.” In July, Conservancy reached out to FDEP,

EPA, and USFWS with concerns about the apparent lack of technical assistance. At first,

USFWS was uncertain as to their review status and the status of the project. Later, USFWS staff

stated that (contrary to the public notice) their technical assistance was not yet complete, and that

the agency would request more time to review this large project. The USFWS stated that they

had started to work on terms and conditions, but that these were never sent to the State. We are

concerned that this important project may well have slipped through the cracks if not for our

advocacy.

       53.     If the Troyer Mine permit is granted, Conservancy’s ability to challenge the

permit and harms that result from the project will be severely constrained by inadequate and



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costly state procedures (including restrictive standing requirements, costly litigation

requirements because of the need to retain expert witnesses, and the potentially devastating risk

of mandatory fee-shifting laws), that are not comparable to the processes or remedies available

under federal law. Conservancy will also be harmed from not having had access to information

about the project’s impacts that would have been generated through NEPA review and Section 7

of the ESA.

        54.    In addition to harming Conservancy’s organizational interests, the Troyer Mine

project would be located approximately three and a half miles away from the public lands I

enjoy, namely, the Corkscrew Regional Ecosystem Watershed lands where I regularly hike,

camp, and observe the wildlife listed above. Panthers require huge swaths of territory for

roaming, foraging, and breeding, can have ranges over 200 square miles, and can travel 12 or

more miles a day. I visit Corkscrew for a near-annual camping trip with friends, and I plan to

return here as often as possible. Environmental harms from Troyer Mine, including harms to

essential species habitat, would negatively impact my ability to enjoy these lands and observe

wildlife.

        55.    Rural Lands West. According to FDEP’s online search portal, the 404 permit

application for Rural Lands West was transferred to the State, in state application number

0396966001. 3 Interestingly, Corps personnel advised Conservancy that this 404 application was

transferred to the State as of December 21, 2020, a day before EPA published notice of its

approval of the state program.




3
  State 404 File for Rural Lands West:
https://prodenv.dep.state.fl.us/DepNexus/public/electronic-documents/ST404_396966/gis-
facility!search.
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       56.     Collier Enterprises Management, Inc., seeks this permit to develop approximately

4,000 acres in the Big Cypress Drainage Basin. This drainage basin includes critical wetland

ecosystems such as Shaggy Cypress, Camp Keais Strand flowway, Picayune Strand, and

Fakahatchee Strand, which are proximate or downstream to this proposed project. Rural Lands

West is a project to clear, grade, excavate, dredge, and fill to construct and maintain a mixed-

used development consisting of two golf courses; a commercial town center; an elementary,

middle, and high school; and residential neighborhoods with roads, driveways, parking areas,

lakes, drainage management systems and other associated infrastructure. The project would

discharge 196,217 cubic yards of fill into 98.25 acres of jurisdictional wetlands and 1,360 cubic

yards of materials into 0.68 acre of isolated wetlands in the watershed for the Big Cypress

Drainage Basin. Approximately 27,820 cubic yards of materials would be discharged into 13.90

acres of remnant farm-field ditches. The project also would dredge/excavate approximately

2,951,250 cubic yards of native materials from 197.45 acres of jurisdictional wetlands and

16,500 cubic yards of material from 1.1 acre of isolated wetlands. See Dkt. No. 031-1, at 167-

173 (Exhibit I, Public Notice).

       57.     While the Rural Lands West application was pending before the Corps,

Conservancy submitted comments in opposition to the project. See Dkt. No. 031-1, at 174-204

(Exhibits J and K). Conservancy owns 1.4 acres of land for conservation purposes that are

approximately 1.5 miles away from Rural Lands West, and another 26 acres of land within 3

miles of the project.

       58.     The project would result in approximately 10,000 new residents arriving to the

area and would impact over 300 acres of wetlands. The project falls within important regional

flowways and ecosystems.



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       59.     Regarding water resources, we additionally raised concerns that Rural Lands

West would be in an impaired water body that does not meet water quality standards, particularly

for nutrients or where nutrients are the pollutant. Conservancy asked federal agencies for better

hydrological analysis of the impacts of this project on downstream and adjacent wetlands.

       60.     As stated in the comments Conservancy submitted to the Corps in opposition to

this project, there would be 4,000 acres of impacts to panther habitat, with 75% of the project in

the Primary Zone habitat. A substantial amount of the project is also in panther Adult Breeding

Habitat. The Rural Lands West project was part of the proposed Eastern Collier Multiple

Species Habitat Conservation Plan that was being considered by the USFWS from 2010-2022 for

which the Conservancy opposed, in part, due to loss of panther habitat from projects like Rural

Lands West. A draft Biological Opinion showed a statistically significant reduction in panther

population viability if Rural Lands West and the other development envisioned in the HCP, such

as Bellmar and Hogan West (AKA Brightshore), were approved.

       61.     The Conservancy obtained expert review by Dr. Robert Frakes, who conducted an

analysis of Rural Lands West in September 2022. He found that Rural Lands West, in

combination with Bellmar, would result in direct and indirect destruction of 5,680 acres (23

square kilometers) of Adult Breeding Habitat.

       62.     In April 2022, Conservancy submitted comments asking the State to elevate this

application as a project with a significant degree of public interest to hopefully ensure a public

hearing would be provided, given the size, potential effect ton environment or public,

controversial nature, and the location within the panther’s primary zone habitat, bonneted bat’s

critical habitat, and wood stork’s Core Foraging Areas. See Attachment B.




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       63.     If the Rural Lands West permit is granted, Conservancy’s ability to challenge the

permit and harms that result from the project will be severely constrained by inadequate and

costly state procedures (including restrictive standing requirements, costly litigation

requirements because of the need to retain expert witnesses, and the potentially devastating risk

of mandatory fee-shifting laws), that are not comparable to the processes or remedies available

under federal law. Conservancy will also be harmed from not having had access to information

about the project’s impacts that would have been generated through NEPA review and Section 7

of the ESA.

       64.     I would also be personally harmed by the Rural Lands West development. I

regularly hike the public trails at the Florida Panther National Wildlife Refuge. The Refuge

boundary is about four miles from the project site, and I plan to return as often as possible.

Environmental harms from the Rural Lands West development project threaten my ability to

enjoy these natural areas, hike, and observe wildlife.

       65.     Bellmar Development. Collier Enterprises Management, Inc., applied to develop

a mixed-use community that would cover about 1,700 acres within the Big Cypress Drainage

Basin. 4 This drainage basin includes critical wetland ecosystems such as the Camp Keais Strand

flowway, Picayune Strand, and Fakahatchee Strand which are proximate or downstream to this

proposed project. The project would impact about 130 acres of wetlands.

       66.     In October 2021 and September 2022, Conservancy submitted comments

discussing the shortcomings of the alternative and cumulative impact analyses for Bellmar. See

Attachment C (September 2022 Comments). Conservancy explained that the project would have



4
 404 File for Bellmar Development: https://prodenv.depStatel.us/DepNexus/public/electronic-
documents/ST404_396364/gis-facility!search.

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unacceptable direct, indirect, and cumulative impacts on endangered and threatened species,

wetlands, and other natural resources. As it is located within a flowway and key wildlife

corridor, it would directly impact over 1,700 acres, and is only approximately one mile away

from the Florida Panther National Wildlife Refuge (FPNWR). It is also apparent that this project

will cause jeopardy to listed species due to habitat loss, infringement of wildlife corridors,

indirect impacts on adjacent preserves, and impacts of traffic and transportation needs resulting

from the Bellmar project, particularly in concert with cumulative impacts that are reasonably

foreseeable.

       67.     The Bellmar project is proposed completely within 100% Primary Zone habitat

for the Florida panther, and about 80% of the site is Adult Breeding Habitat for the panther as

well. The Bellmar project was part of the proposed Eastern Collier Multiple Species Habitat

Conservation Plan (HCP) that was being considered by the US Fish and Wildlife Service from

2010-2022 for which the Conservancy opposed, in part, due to loss of panther habitat from

projects like Bellmar. A draft Biological Opinion showed a statistically significant reduction in

panther population viability if Bellmar and the other development envisioned in the HCP, such

as Rural Lands West and Hogan West (AKA Brightshore), were approved. See Attachment C

(Conservancy Comments).

       68.     The Conservancy hired an expert, Dr. Robert Frakes, to conduct an analysis of

Bellmar and, in combination with Rural Lands West in response to the FDEP Public Notice. He

found that these two projects would result in direct and indirect destruction of 5,680 acres (23

square kilometers) of Adult Breeding Habitat.




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          69.   The project would likely impact lands that are part of the Florida Panther National

Wildlife Refuge, where I love to regularly visit and recreate and plan to continue regularly

visiting. Conservancy also owns property about 3 miles from the proposed project site.

          70.   Bellmar went to public notice on August 16, 2022. As common in the State’s

public notices, there were no proposed permit conditions for listed species despite the findings

that the project “may affect” and was “likely to adversely affect” the panther, bonneted bat, and

eastern indigo snake. In fact, the notice merely says that the agencies would “work with” the

applicant to determine “any necessary permit conditions.” See Attachment D (Public Notice).

          71.   On November 9, 2022, EPA stated they had no comments on the project.

          72.   In 2021 and throughout 2022 and in its comments, Conservancy raised its

concerns the need for traffic analyses for this project which were necessary for proper review.

The State issued the Public Notice for Bellmar despite the USFWS asking in a RAI for the traffic

information to be submitted, but the applicant did not provide the requested specific information.

The State eventually informed Conservancy that they would request this information and that it

would also hold a public hearing after receipt of the information as a last step before granting or

denying the permit.

          73.   In January 2023, the applicant’s proposed permit conditions were submitted for

review.

          74.   The State has informed Conservancy that a public hearing will be set within the

next couple of months. There appears to be no further outstanding issues regarding this

application before the State and a permit could issue shortly after such public hearing.

          75.   Conservancy’s ability to challenge the permit and harms that result from the

project will be severely constrained by inadequate and costly State procedures (including



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restrictive standing requirements, costly litigation requirements because of the need to retain

expert witnesses, and the potentially devastating risk of mandatory fee-shifting laws), that are not

comparable to the processes or remedies available under federal law. Conservancy will also lose

access to information about the project that would have been provided under NEPA and Section

7 of the ESA.

       76.      Immokalee Road Rural Village (IRRV). 27th/Pico Boulevard Limited

Partnership seeks to construct a mixed-use residential and commercial development over 2,780

acres in Collier County (application #396348-001), which would approximately result in the

discharge of 159,091 cubic yards of fill material into 32.87 acres of wetlands and 1,942,195

cubic yards of fill material into 200.64 acres of other surface waters. The project would also

involve the excavation of approximately 179,241 cubic yards of material from over 11 acres of

wetlands. The site is within the USFWS designated Focus Area for the Florida panther and is

within the USFWS designated consultation area for the crested caracara. Conservancy sent a

letter seeking consideration and action on the severe panther roadkill hotspot adjacent to this

project.

       77.      The IRRV project is situated near the conservation lands of Bird Rookery Swamp.

The project is located within the consultation area for the Everglade snail kite, Florida scrub-jay,

Florida bonneted bat, red cockaded woodpecker, eastern indigo snake, wood stork, Audubon’s

crested caracara, and the Florida panther; there are a number of state-listed species also in the

area. The applicant’s field survey documented at least 110 gopher tortoise burrows on site, and

bonneted bat calls on the site.

       78.      In April 2022, Conservancy submitted comments flagging this project to the State

given the size, potential effects on environment or public, controversial nature, and the location



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within the panther’s primary zone habitat (675 acres within primary zone and 344 acres within

adult breeding habitat) and wood stork’s Core Foraging Areas. See Attachment B.

       79.     In October 2022, Conservancy again submitted comments voicing concerns over

the project in response to materials submitted by the applicant. See Attachment E.

       80.     If the Immokalee Road development permit is granted, Conservancy’s ability to

challenge the permit and harms that result from the project will be severely constrained by

inadequate and costly state procedures (including restrictive standing requirements, costly

litigation requirements because of the need to retain expert witnesses, and the potentially

devastating risk of mandatory fee-shifting laws), that are not comparable to the processes or

remedies available under federal law.

       81.     I would also be personally harmed by the Immokalee Road development. I like to

hike at Corkscrew Swamp Sanctuary and Corkscrew Regional Ecosystem Watershed Bird

Rookery Swamp. The Sanctuary is about two miles from the project site, and Bird Rookery even

closer, essentially across the street from IRRV. I plan to return as often as possible.

Environmental harms from this development project threaten my ability to enjoy these natural

areas, hike, and observe wildlife. Conservancy will also lose access to information about the

project that would have been provided under NEPA and Section 7 of the ESA.

       82.     Old Corkscrew Plantation Mine (AKA Kingston). Cameratta Companies is

pursuing this large-scale development project that would span over 6,671 acres. It had an active

404 permit application in 2011, which was withdrawn after the Army Corps determined an EIS

under NEPA was necessary, and now is being considered under application #0423130-001. The

project already received its ERP for mining from FDEP in 2011, and now is being considered by

the State for a new ERP consistent with this application. Much of the project is panther habitat,



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including Adult Breeding Habitat, and the project also contains Florida panther Primary Zone

habitat. The applicant would add 95,000 additional trips per day. Expert review by Dr. Robert

Frakes in August 2022 identified that Old Corkscrew (AKA Kingston) would have a substantial

impact cumulatively with other proposed projects Troyer Mine and FFD; about 7,400 acres (~30

square kilometers) of Adult Breeding Habitat will be lost directly and indirectly with these three

projects.

       83.      The following species have been previously documented on site, including crested

caracara, Everglades snail kite, wood stork, Florida panther, Florida sandhill crane, little blue

heron, roseate spoonbill, Big Cypress Fox squirrel, and Florida black bear. The project also

contains Core Foraging Area for four wood stork colonies. This project would also be

approximately one and a half miles away from the public lands I enjoy, namely, the Corkscrew

Regional Ecosystem Watershed lands where I regularly hike, camp, and observe wildlife.

       84.      Further demonstrating the harms discussed above and below, here are additional

applications before the State that Conservancy has been monitoring and has already engaged in:

             a. Hogan West (AKA Brightshore). Barron Collier is seeking a permit

   (application #0405559-001-NPR, 0405559-002-SFI) for this project that would convert

   habitat to approximately 2,300 homes and commercial development. Of the 640-acre site,

   about 210 of those acres are Primary Zone panther habitat and the remainder is Secondary

   Zone panther habitat. A draft Biological Opinion showed a statistically significant reduction

   in panther population viability if Hogan West and the other development envisioned in the

   HCP, such as Rural Lands West and Bellmar, were approved. The project sits within the

   Corkscrew Swamp wetland ecosystem and adjacent to the Poggie Strand. In October 2021,

   we notified the State and the federal agencies that the applicant was attempting to receive a



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   verification of a no permit required (NPR) determination. We did not receive a response.

   However, sometime thereafter, the project was resubmitted as an Individual Permit. I am

   concerned that the NPR may have been granted if not for our advocacy. Conservancy will

   continue to monitor this project due to its potential impacts to the panther.

             b. FFD (AKA Orchid). FFD Land Co., Inc. is seeking a State 404 permit for a

   large scale development in Lee County (application #0291030-004-SFI). The application

   would result in over 550 acres of impact to Primary Zone panther habitat and 1,370 acres of

   Adult Breeding Habitat directly. Expert review by Dr. Robert Frakes in August 2022

   identified that with FFD, cumulatively with other proposed projects currently being reviewed

   by the state of Florida for Troyer Mine and Old Corkscrew Plantation (Kingston), about

   7,400 acres (~30 square kilometers) of Adult Breeding Habitat will be lost. See Attachment

   F (June 2022 Conservancy Comments).

       85.      Conservancy has also identified and has been monitoring project developments

that will likely need a 404 permit in the future:

             a. State Road 29. This is a project to widen State Road 29 in Collier County, and it

   is already beyond the beginning stages of the planning process with the Florida Department

   of Transportation. The State Road 29 project encompasses Florida roadkill hotspots that

   threaten panthers, and it is adjacent to the public lands of Big Cypress National Preserve and

   the Florida Panther National Wildlife Refuge. This project would be located directly

   adjacent to these key public lands, where I enjoy hiking and other outdoor activities.

             b. Wilson-Benfield Road. This is a project to extend a major roadway in Collier

   County, and it would be within or adjacent to the Picayune Strand State Forest. The

   Picayune Strand provides habitat for numerous species, including the wood stork, red



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cockaded woodpecker, Florida black bear, Florida panther, and others. This roadway may

impact important downstream resources, fragment wildlife habitat, and alter hydrological

connections. This project is likely to go forward, as it has already been listed on the Collier

County Metropolitan Planning Organization (MPO) 2045 Long Range Transportation Plan,

which is the federally mandated planning mechanism for local governments to receive

federal funding for transportation projects. Collier County is currently engaged in the

alignment selection process. I live about 1.5 miles way from this project area, and enjoy

recreation, such as hiking and wildlife observation, in the Picayune Strand State Forest and

plan to continue doing so as often as I can.

       c. I-75 Interchange near Everglades Blvd. This is a project to construct a new

interchange on I-75 in Alligator Alley. An interchange in this area would increase

development in Golden Gate Estates and the Rural Lands Stewardship Areas. These areas

provide habitat for wildlife such as Florida black bears and Florida panthers, among other

species. This project is likely to go forward, as it has already been listed on the Collier

County Metropolitan Planning Organization (MPO) 2045 Long Range Transportation Plan,

which is the federally mandated planning mechanism for local governments to receive

federal funding for transportation projects.

       d. Eden Oak Development. This is a project to develop a 55-home community on

306 acres along the Caloosahatchee River. The project was previously pending with the

Corps starting in 2012, it would have impacted at least 35 acres of mangrove and salt marsh,

and it was within smalltooth sawfish critical habitat and Florida manatee critical habitat. The

wetlands within this site were recognized by agencies as Aquatic Resources of National

Importance. The developer has an active application for development at the local level. We



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   do not know definitely yet, as no 404 application has been submitted, if this project would be

   in solely assumed waters that would be processed by FDEP or if the project would be

   retained by the Army Corps.

       86.     A ruling in Plaintiffs’ favor invalidating EPA’s approval of Florida’s program

would redress Conservancy’s harms by restoring 404 authority over assumable waters to the

Corps, restoring Section 7 and NEPA review to projects, and ensuring that all requirements of

federal law are met and can be enforced in federal court. A ruling in Plaintiffs’ favor on our

ESA claims would redress Conservancy’s harms by requiring EPA to reinitiate consultation with

USFWS (and to consult with NMFS) to fully consider the effects of Florida’s application on

listed species and critical habitat; require the wildlife agencies to produce legally sufficient

biological opinions that properly analyze the impact to listed species and critical habitat, set

limits on incidental take, and impose reasonably prudent measures and triggers for reinitiation

that are protective under the ESA; and prohibit EPA, the state, and state permittees from

receiving incidental take coverage from an unlawful “technical assistance” process.

       I declare under penalty of perjury that the foregoing is true and correct. Executed this

___day of February, 2023.



                                                               ______________________________
                                                               Amber Crooks
                                                               Environmental Policy Manager
                                                               Conservancy of Southwest Florida
                                                               1495 Smith Preserve Way
                                                               Naples, Florida 34102




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              ATTACHMENT A
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January 10, 2022                                                                                      sent via email

John Truitt, Deputy Secretary for Regulatory Programs
Florida Department of Environment Protection
3900 Commonwealth Boulevard MS 15
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 john.truitt@dep.state.fl.us

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Dear Mr. Truitt, Mr. Rivera, and Mr. Hight,

On behalf of the Conservancy of Southwest Florida and our more than 6,400 supporting families, we
are providing comment on Babcock development, permit #0396574-001, issued on November 19,
2021, which appears to incorporate Florida Fish and Wildlife Conservation Commission (FWC)
comments, recommendations, and permit conditions from a letter dated October 25, 2021.



Throughout their letter, the Florida Fish and Wildlife Conservation Commission
                                                   federally and state listed species.1 We have some
questions that we hope can be clarified. The unclear and ambiguous language was incorporated into
the November 19, 2021 permit.

Further, the FWC letter states that the US Fish and Wildlife Service (USFWS) coordinated on the
comments; however, questions remain about how impacts to federally-listed species were
considered. Neither the letter, nor the permit, illuminates the coordination between FWC and the


1
 Letter from Jason Hight to Curtis Hardman dated October 25, 2021 re: Babcock Ranch Community, Florida Department of
Environmental Protection, State 404 Permit Application (396574-001-SFI), Lee and Charlotte Counties, pp. 3-6
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USFWS, both in terms of timing of coordination and substance
conclusions.

The state 404 program Memorandum of Agreement (MOA)
with the USFWS will be accomplished prior to the Public Notice, when possible. The Public Notice
                                                                         2 (emphasis added) We

outlined our concerns about the timing of the wildlife review in comparison to the public notice in
our last comments dated September 15, 2021; the FWC letter with proposed permit conditions was
only available for a matter of days before the permit was issued, and was only available well after
the close of the public notice window.

Further, as illustrated below, the provided technical assistance from FWC, in coordination with
USFWS, does not appear to meet the expectations presented in the USFWS Biological Opinion for
the state assumed program. We do not see any information in the permit, FWC letter, or public
record that assures us if and how the USFWS conducted an analysis of jeopardy/adverse
modification of critical habitat for this project, or how the agency analyzed whether or not take
would occur, or if they concluded that there would be take associated with this proposed project. 3

This is particularly of concern, as demonstrated below, as there are significant nesting resources for
the threatened crested caracara, as well as proposed critical habitat for the Florida bonneted bat
that will be impacted by the proposed activities. Additionally, the USFWS has already acknowledged
that there is likely to be take from this project (see Attachment A).

The agencies are to monitor and track the amount of anticipated take 4 but it is not clear to the
public if there has been assessed take associated with this project; none is mentioned in the FWC
letter or the permit. Instead these documents appear to further bifurcating assessment of take for
the crested caracara until a later date, despite acknowledgement of 5 different pairs in active nests
currently within the development footprint.5 The USFWS 404 program Biological Opinion states
                 rmined, though technical assistance on permit review with the State that take of
ESA-listed species is still expected to occur after implementation of recommended minimization
                                                                                       6


Critically, the 404 program Biological Opinion does not quantify take for any of the species it is
intending to provide incidental take coverage for. It appears to us that unless the applicant modifies

2 Memorandum of Understanding Between the Florida Fish and Wildlife Conservation Commission, The United States Fish

and Wildlife Service, and the Florida Department of Environmental Protection, 2020. August 5, 2020. P. 6.
3 US Fish and Wildlife Service, 2020.

                                                                                                                    404 of the
Clean Water Act. P. 19-20.                                          nd technical assistance operates similarly to a section 7
consultation because it has a similar objectives of 1) ensuring a State 404 permit action is not likely to jeopardize or
adversely modify or destroy critical habitat, and 2) minimizing and tracking the amount of incidental take if take is

4 Ibid.
5 FDEP, 2021. Babcock Ranch Community Phases 1 and 2, Permit No. 36574-


6

                                                                                                           Section 404 of the
Clean Water Act. P.70.
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this permit to completely avoid listed species impacts, especially the crested caracara nests, that
take will occur. Thus, it would become necessary for EPA to reinitiate consultation about the
entirety                                                   f                             7




Our last comment letter provides relevant background on the caracara as well as the likely impacts
to caracara on the project site. We have some questions and concerns about the conditions set
forth in the FWC letter dated October 25, 2021, which were incorporated into the November 19,
2021 permit.

                 23.a

This condition begins by requiring inspections of palm trees and oaks between January and April in
the undeveloped portions of the BRC property.8 What is considered the undeveloped portions of
the BR                                                                                 t been
cleared? Both? Is the applicant required to do this every year until the caracaras are either
harassed into abandoning their nests or forcibly have their nests moved to allow development?

As the condition reads, up to five pairs of caracara could potentially be taken. 9 This is a lot, and
appears to be based on the BRC habitat model (dated July 2020) provided to FWC and USFWS
during the 404 permit review.10 Is this document available to the public? It does not appear to be
under that name (or a related name) in Oculus. We would like to review this model, and it should
be part of the public record.

                  3.b

Condition 23.b                                  is observed on the
                                              11 It seems clear from condition 23.a (and the map of nests

produced by the applicant (Attachment B) and photos included in the Babcock Ranch Community
2020 Crested Caracara Survey (Attachments C, D, and E)) that caracara nesting is occurring on the
project site. What does FWC and/or USFWS consider feasible? What does FDEP consider feasible?
Is the agencies definition of feasible the same as the applicant? It seems feasible to us to change the
layout of the mitigation areas to protect at least some of the caracara nests, which were requests
that we made in our prior comments, provided previous to the permit being awarded.




7 Ibid. P. 73.
8 Permit No. 396574-001, Babcock Property Holdings LLC and Babcock Ranch Community Independent Special District, p.

12
9 Ibid.
10 Ibid.
11 Ibid.
      Case 1:21-cv-00119-RDM                  Document 98-1                     Conservancy
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            23.c

Condition 23.c
site.                                                                                   12 referred to in the

condition be happening now?

            23.d

Condition 23.d appears to allow for take of nests. Is this an accurate reading of this condition? If
this is allowing for take, why is the word take not in this condition or acknowledged anywhere in
                                                 ?

            23.h

Please provide the
Typically, mitigation relates to alleviating impacts. Trapping, tagging and monitoring two adult
caracaras prior to destroying their nests does not appear to fall into the typical definition of
mitigation. Also, pursuant to condition 23.a, there are up to 5 pairs that could be taken. Are these
one from each of two specific pairs of caracaras? If so, which ones?



On January 21, 2021, the USFWS noted there would be take of Florida bonneted bat (see
Attachment A).
calls overnight, and noted the potential for onsite roost(s).

                                                                               activities on roosting, as well as
foraging bats. Bailey et al 201713 states that bonneted bats utilize agricultural lands for a significant
part of their daily life needs - foraging. That study found that bonneted bat occupancy was
positively correlated with the amount of crop-based agriculture.

Because Florida bonneted bats and their proposed critical habitat were not previously considered
in prior Babcock Biological Opinions, we are very concerned that the current programmatic
biological opinion and technical assistance process will result in less protection and analysis for this
endangered species.

            22.c

Condition 22.c                                                                                        -construction
survey, removal efforts shall be discontinu              14 However, the last sentence of this condition



                          15 Does this mean that the take of roosts is not permitted, or just not



12 Ibid.
13 Bailey et al., 2017. Impact of Land Use and Climate on the Distribution of the Endangered Florida Bonneted Bat. Journal

of Mammology, 98(6): 1586-1593.
14 Permit No. 396574-001, Babcock Property Holdings LLC and Babcock Ranch Community Independent Special District,

p. 11
15 Ibid.
     Case 1:21-cv-00119-RDM                  Document 98-1                    Conservancy
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permitted during maternity season? What does the service define as maternity season? Pursuant


         Florida bonneted bats are thought to have a low reproductive capacity, only giving birth to
         one offspring per breeding season. However, the female has the capability of going into
         heat many times during the year (polyestrous). This species may have two breeding
         seasons each year. Reproduction has been documented during the summer and also during
         January and February.16

Is maternity season January, February, June, July, and August? The permit condition is too vague.



Condition 22.g
        17 Condition 22.h                                                           preserve areas shall be
                                                      18 What do FWC and/or USFWS consider feasible? Is

the agencies definition of feasible the same as the applicant? When would maintaining a tree in a
preserve area not be feasible? There are no safeguards in the technical assistance process for the
environmental community or public to understand what triggers will be required of the applicant
as this project goes forward.



The Babcock area has long been established as an important area for panthers, particularly for
northern expansion and most recently as supporting the first documented breeding north of the
Caloosahatchee River since 1973.19 Thatcher et al., 2009,20 established that the Babcock area,
including what appears to be portions of the subject property, as an important habitat patch.
Similarly, the recent study Frakes & Knight, 2021, also appears to indicate this as a panther habitat
suitability area.21

Was this new information utilized to inform agency review of the application to ensure that
                                                                              ? Did the USFWS
determine that the Biological Opinion conditions that were contemplated years ago are adequate
given this new information? If so, could this analysis be made public and placed on Oculus? If not,
what was the basis for agency determination that breeding in this area will not be diminished by




16 https://myfwc.com/wildlifehabitats/profiles/mammals/land/florida-bonneted-bat/
17 Permit No. 396574-001, Babcock Property Holdings LLC and Babcock Ranch Community Independent Special District,

p. 11
18 Ibid.
19 Florida Fish and Wildlife Conservation Commission, 2020. Assessment of the Distribution of Florida Panther North of

the Caloosahatchee River. Written by Brian Kelly and Dave Onorato. August 18, 2020.
20 Thatcher et al., 2009. Journal of Mammalogy, 90(4): 918-925.
21 Frakes & Knight, 2021. Location and Extent of Unoccupied Panther Habitat in Florida: Opportunities for Recovery.

Global Ecology and Conservation, 26, e01516.
      Case 1:21-cv-00119-RDM            Document 98-1                 Conservancy
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While we understand that the Babcock permit has already been issued, the questions raised in this
letter are still timely, relevant, and in need of clarification, particularly as many of our questions
would persist throughout the life of this permit. Further, we are concerned that the problems
illustrated in this letter about the technical assistance and wildlife review process could


We ask for                              in providing these much needed answers. We were
concerned when the state assumed section 404 permitting that protection of listed species would
be compromised. This permit reinforces our concerns.

Please note that this letter does not constitute support for the state-assumed section 404
permitting program, which we believe is unlawful.

Please add this letter to the permit file for this project.



Sincerely,

/s/                                                             /s/

Julianne Thomas                                                 Amber Crooks
Senior Environmental Planning Specialist                        Environmental Policy Manager
(239) 262-0304 x 252                                            (239) 776-5601
juliannet@conservancy.org                                       amberc@conservancy.org

cc:
Curtis Hardman, FDEP
Cindy Owens, FDEP
Jon Iglehart, FDEP
Larry Williams, USFWS
Connie Cassler, USFWS
Bryan Phillips, FWC
Laura DiGruttolo, FWC
Josh Cucinella, FWC
Jeaneanne Gettle, US EPA
Kathy Hurld, US EPA
Megan Mills, FDEP
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     B
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     C
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     D
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               ATTACHMENT B
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April 8, 2022                                                                      sent via email

Jennifer Smith, Chief of Staff
South Florida Water Management District
3301 Gun Club Road
West Palm Beach, FL 33406
Jsmith@sfwmd.gov

Megan Mills, Permitting Administrator
Florida Department of Environmental Protection South District
PO Box 2549
Fort Myers, FL 33902-2549
Megan.Mills@FloridaDEP.gov

Dear Ms. Smith and Ms. Mills,

On behalf of the Conservancy of Southwest Florida and our more than 6,400 supporting families, we are writing
to identify projects we believe deserve elevation by the Florida Department of Environmental Protection (FDEP)
and/or South Florida Water Management District (SFWMD) to projects of heightened public concern and
warranting expanded public opportunities to comment.

The Conservancy believes that these projects merit being elevated as each of them will have substantial and
severe impacts to the environment, if approved.

Both FDEP and SFWMD (under the Environmental Resource Permit process), and FDEP (with the 404 program),
allow for projects to be flagged for public meetings if there is public interest in the proposed project. The ERP
handbook states that projects of large size, potential effects on the environment or public, a controversial nature,
and/or impact on the conservation of wildlife and their habitats can result in a project being flagged as of
                             1



Further, the ERP handbook also lays out the criteria for the public interest test.2 Of particular note is Section
10.1.1.a.2, which states that an applicant must provide reasonable assurance that the proposed activity will not
adversely affect the conservation of fish and wildlife, including endangered or threatened species, or their
habitats. We contend that destruction and/or fragmentation of species habitat is an adverse impact from the
projects detailed herein, thereby not only failing the public interest test (and perhaps other permit criterion
regarding impact to listed species and wildlife), but also qualifying as a project of heightened public concern.


1
2
                                                                                                        -330.302,
F.A.C.).
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                                                                                           Selected Environmental
                                                                    3
Resource Permit Application                              are listed. The following projects with FDEP ERP or state
404 applications should be added to this webpage.

For pending ERP projects before the SFWMD, we ask that you reinstate your regular regulatory meetings. 4 These
meetings began as a result of 2009 changes to the Florida Statutes to provide continuing public engagement in the
permitting process, but meetings were suspended in 2020. At these meetings, projects of heightened public
concern were a standing agenda item for which members of the public could provide comments.

The projects below meet the criteria listed on the webpage and in the rules based on their size, potential effect on
the environment or the public, potential controversial nature, and the location of the activities. They should be
elevated to project of heightened public concern, be reviewed for compliance with the public interest test and
other permit issuance criterion regarding impacts to endangered species and wildlife habitats. We ask that a
public meeting be made available for citizens to share their concerns prior to the agency permitting these projects.

Inclusion on these lists will allow for additional public engagement by making it easier for the public to track and
learn about these projects. We believe that input from the public and concerned parties should be a priority for
FDEP and SFWMD. After all, these projects, as seen in Figure 1, will change the landscape and future of the area
 the trajectory of species survival and recovery- if approved. The Conservancy requests the agencies elevate the
below identified applications5.

        Bellmar, Collier County 404 Application #396364-001 (& any future ERP construction/operation
        permit application)
             o   Bellmar will destroy 1,700+ acres located entirely in Primary Zone panther habitat.
             o   Over 130 acres of wetlands would also be destroyed.
             o   The location is only about 1 mile away from the Florida Panther National Wildlife Refuge
                 (FPNWR). Refuge manager shared concerns about the                    secondary and cumulative
                 impacts on the Refuge.
             o   The project proposes to impact caracara nest in the center of the parcel.
             o   More than 650 letters expressing concern about this project have been submitted to FDEP from
                 citizens and organizations.
             o   Bellmar is located in proposed critical habitat for the Florida bonneted bat.

        Rural Lands West, Collier County 404 Application #396966-001 (& any current or future ERP
        construction/operation permit applications such as ERP application #220107-32645)
             o   Rural Lands West would impact about 4,500 acres, and a majority of the site is Primary Zone
                 panther habitat.
             o   Over 300 acres of wetlands would be destroyed.



3
  Accessed at <https://floridadep.gov/south/sd-permitting/content/projects-heightened-public-concerns>.
4
  Accessed at <https://www.sfwmd.gov/doing-business-with-us/rules.>
5
  ERP and state 404 applications by Burnett Oil for new projects at Nobles Grade and Tamiami Prospect within the Big
Cypress National Preserve are projects of concern and when they resubmit, we ask that their application be elevated.
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   o   The southern end of the development impact footprint is located in proposed critical habitat for
       the Florida bonneted bat.
   o   Rural Lands West is also within                               Foraging Areas.
   o   Concerns about impacts from Rural Lands West have been expressed by FPNWR.
   o   The project is adjacent to and within the Camp Keais Strand flowway that feeds the FPNWR and
       other public/mitigation lands.

Troyer Mine, Lee County    404 Application #292013-008
   o   Troyer Mine is nearly 2,000 acres with a proposed mine pit of nearly 800 acres.
   o   The location is adjacent to conservation lands on the east and west sides of the project.
   o   EPA objected to the methodology/definition used by the applicant to calculate WOTUS wetland
       impacts in December 2021.
   o   More than 15 letters of objection asking for a public hearing were submitted from citizens,
       organizations, and businesses, including Sakata Seed, the adjacent landowner who will be
       negatively impacted by this project.
   o   Miccosukee Tribe concerns do not appear to be resolved based on public information available on
       FDEP Oculus webpage.
   o   The site was previously identified by Army Corps of Engineers in 2010 for NEPA Environmental
       Impact Statement (EIS) due to cumulative impacts in eastern Lee County. The Determination
       Letter by the ACOE stated concerns for public drinking water resources, infrastructure and traffic
       safety, conservation lands and mitigation lands adjacent or nearby the mine, as well as impacts to
       water resources, hydrology, flowways, and wildlife habitat.
   o   Troyer Mine will impact 3 wood stork Core Foraging Areas.

FFD, Lee County    ERP Application #211005-7746 and 404 Application #291030-004
   o   FFD would impact more 2,500+ acres.
   o   The project is bounded on three sides by conservation and mitigation lands that could be
       negatively impacted by development.
   o   The proposed impact area is in Primary and Secondary Zone panther habitat.
   o   The site was previously identified by the Army Corps of Engineers in 2010 for an Environmental
       Impact Statement due to cumulative impacts in eastern Lee County.


Immokalee Road Rural Village, Collier County     ERP Application #211201-32383 and 404 Application
#396348-001
   o   The project is nearly 3,000 acres, with over 1,000 acres slated for impacts.
   o   Immokalee Road Rural Village would impact over 240 acres of wetlands and other surface
       waters.
   o   There are 675 acres of panther Primary Zone & 344 acres of Adult Breeding Habitat on site.
   o   Immokalee Road, adjacent to the project, is a panther-vehicle collision hot spot with 8 recorded
       deaths, along with several black bear deaths.
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             o   There are 113 gopher tortoise burrows on site and the threatened eastern indigo snake is a
                 potential commensal species.
             o   The project will impact 5 wood stork colonies Core Foraging Area.


While there are many other projects we are tracking, these projects are the ones that we presently believe should
have heightened awareness and be brought to the attention of the public.

Please let us know if you would like additional information about these projects as you consider our request.

Sincerely,

Julianne Thomas                                                   Amber Crooks
Senior Environmental Planning Specialist                          Environmental Policy Manager
(239) 262-0304 x 252                                              (239) 776-5601
juliannet@conservancy.org                                         amberc@conservancy.org


cc:
Shawn Hamilton, FDEP
Melissa Roberts, SFWMD
Laura Layman, SFWMD
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Figure 1
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From:            Mills, Megan
To:              SD-ERPcomments
Subject:         FW: Projects of Heightened Public Concern
Date:            Monday, April 11, 2022 8:06:40 AM
Attachments:     CSWFLProjects of Heightened Public Concern.pdf


Please insert to Oculus under DEP Files:
ST404 Program Catalog
396364
396966
291030
396348

Note the Troyer Mine project is not our 404 and will be handled by Mining and Mitigation.

Sincerely,
Megan




From: Julianne Thomas <JulianneT@conservancy.org>
Sent: Friday, April 8, 2022 5:38 PM
To: Smith, Jennifer <jsmith@sfwmd.gov>; Mills, Megan <Megan.Mills@dep.state.fl.us>; Laura
Layman <llayman@sfwmd.gov>; Melissa Roberts <mroberts@sfwmd.gov>; Hamilton, Shawn
<Shawn.Hamilton@FloridaDEP.gov>
Cc: nicole johnson <nicolej@conservancy.org>; Amber Crooks <amberc@conservancy.org>
Subject: Projects of Heightened Public Concern

                                        EXTERNAL MESSAGE
 This email originated outside of DEP. Please use caution when opening attachments, clicking links,
                                    or responding to this email.
Please find attached the Conservancy of Southwest Florida's letter which identifies projects
we believe deserve elevation by the Florida Department of Environmental Protection (FDEP)
and/or South Florida Water Management District (SFWMD) to projects of heightened public
concern and warrant expanded public opportunities to comment.

Please let me know if you have any questions or need additional information.

Julianne Thomas
Senior Environmental Planning Specialist
Conservancy of Southwest Florida
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              ATTACHMENT C
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September 15, 2022                                                               sent via email

Director Martha Williams
U.S. Fish and Wildlife Service
1849 C. St. NW
Washington DC, 20240

State Supervisor Larry Williams
U.S. Fish and Wildlife Service
1339 20th Street
Vero Beach, FL 32960

Regional Administrator Daniel Blackman
U.S. Environmental Protection Agency
61 Forsyth Street SW
Atlanta, GA 30303

Secretary Shawn Hamilton
Florida Department of Environmental Protection
3900 Commonwealth Blvd. MS 49
Tallahassee, FL 32399

Director Eric Sutton
Florida Fish and Wildlife Conservation Commission
620 S. Meridian St.
Tallahassee, FL 32399

Re: Bellmar Development Application (Collier County) and Public Notice, #396364-001

Dear Director Williams, State Supervisor Williams, Regional Administrator Blackman, Secretary
Hamilton, and Director Sutton:

On behalf of our respective organizations and our members, the Center for Biological Diversity,
Conservancy of Southwest Florida, and Sierra Club are providing comment on the Bellmar
project proposal that is being sought under the Florida Department of Environmental Protection
(FDEP) state assumed 404 program (application #396364-001). This letter supplements our prior
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correspondence on both the Bellmar project, as well as our comments provided regarding the
Eastern Collier Multiple Species Habitat Conservation Plan (ECMSHCP). Please consider this
letter as a request that FDEP hold a public meeting,1 as well as a request that the US
Environmental Protection Agency also hold a public meeting.2

We oppose authorization of this project and are asking you to deny the request for a section 404
permit because it will have unacceptable direct, indirect, and cumulative impacts on endangered
and threatened species, wetlands, and other natural resources. This controversial project is within
a flowway and key wildlife corridor, would directly impact over 1,700 acres, and is only
approximately one mile away from the Florida             National Wildlife Refuge (FPNWR).


Endangered Species Act and the state 404 permitting program, not only due to habitat loss,
infringement of wildlife corridors, and indirect impacts on adjacent preserves, but also due to the
impacts of traffic and transportation needs resulting from the Bellmar project, particularly in
concert with cumulative impacts that are reasonably foreseeable.

Not only does Bellmar fail to meet the criteria for permit issuance under rule 62-331 F.A.C. and

with the Endangered Species Act (ESA).

I.       Bellmar Cannot Be Authorized Absent an Affirmative Demonstration that the
         Effects of the Authorization, Considered with Regard to Cumulative Effects, Are
         Not Likely to Jeopardize the Florida Panther

                                                                                       authorized,
funded, or carried out by such agency . . . is not likely to jeopardize the continued existence of
any endangered species or threatened species or result in the destruction or adverse modification
                                       3 When EPA decided to allow FDEP to take over the 404

permitting, it relied on a programmatic Biological Opinion to purportedly satisfy its duties under
ESA Section 7 to ensure against jeopardy.4 Rather than analyze the impacts to species from
                      ich included the effects of the permitting that would occur under the State
404 Program, that programmatic Biological Opinion relied on a structured process for technical
assistance whereby the analysis would occur at the State program permitting stage instead, and
would comply with the terms in the programmatic Biological Opinion, deferring the actual
analysis of jeopardy. To comply with the programmatic Biological Opinion, the agencies must
now consider all the indirect, direct, and cumulative effects of Bellmar and other reasonably
foreseeable development to ensure the project will not jeopardize listed species, including the
Florida panther. As outlined below, because these effects, when added to the environmental
baseline, are likely to jeopardize the Florida panther, the agencies cannot authorize Bellmar.



1 62-331.060, Florida Administrative Code.
2 62-331.052, Florida Administrative Code.
3 16 U.S.C. § 1536(a)(2).
4 CSWF, CBD, Sierra Club and others are currently challenging the lawfulness of that approach in court, and in no

manner waive the claims, issues, or arguments raised in that litigation.




                                                                                                                    2
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    A. The agencies must consider the impact of the Bellmar project with the cumulative
       effects of other reasonably foreseeable development that will be authorized under
       the State 404 program and will affect ESA-listed species and habitats in the areas
       affected by the Bellmar project.



the Memorandum of Understanding (MOU) between FDEP, the Florida Fish and Wildlife
Conservation Commission (FWC), and the U.S. Fish and Wildlife Service (FWS) to avoid
jeopardy,5
consultation.6 For that to be the case, the jeopardy determination for any given permit would
have to consider the effects of the permitted activity cumulatively with other reasonably
foreseeable non-federal actions, which here would necessarily include other reasonably
foreseeable State 404 permits affecting the same area affected by the permit at issue.

An ESA section 7 analysis of effects would require consideration of cumulative effects. ESA
                                         are those effects of future State or private activities, not
involving Federal activities, that are reasonably certain to occur within the action area of the
Federal action                            7              means all areas to be affected directly or
indirectly by the Federal action and not merely the immediate area involved in the                8


proposed action, including the consequences of other activities that are caused by the proposed
       9                ce is caused by the proposed action if it would not occur but for the
proposed action and it is reasonably certain to occur. Effects of the action may occur later in time
and may include consequences occurring outside the immediate area involved in the act           10


With regard to how cumulative effects will be considered in making the effects determinations

evaluation of the likelihood that a permit action may jeopardize a species or adversely modify
critical habitat will take into account the effects of any unrelated non-federal actions occurring in
the project area, similar to the way a cumulative effects analysis is conducted under section 7 of
           11 The BiOp

cumulative effects, which are the effects of future State or private activities that are reasonably


5 U.S. Fish and Wildlife Service, Programmatic Biological Opinion for



                                                                           69.
6 404 Programmatic BiOp at 56.
7 50 C.F.R § 402.02.
8 50 C.F.R § 402.02.
9 50 C.F.R § 402.02.
10 50 C.F.R § 402.02.
11 404 Programmatic BiOp at 20. See also id

may jeopardize a species or adversely modify critical habitat will take into account the effects of any unrelated non-
federal actions occurring in the project area, similar to the way a cumulative effects analysis is conducted under




                                                                                                                     3
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                                               12                                portion of the
State-assumed waters where specific dredging or filling activities are permitted and consist of a

                                                 it applications for endangered and threatened
species, also includes those areas outside the immediate area of activity which may affect listed
                               13




Programmatic BiOp                                      -specific, species-specific, review of the
likelihood that a permit action may jeopardize a species or adversely modify critical habitat will
take into account the effects of any unrelated non-federal actions occurring in the project area,
                                                                                                    14


permit applications; the assessment of expected impacts to species that may be caused from a
particular project must be considered along with the impacts that may have been caused from
past authorized projects, as well as those future projects that are reasonably certain to occur. 15

Reasonably foreseeable activities requiring authorization under the State 404 Program
are non-federal actions, and therefore in making jeopardy determinations for each State 404
Program permit, their effects in the area affected by the permit application at issue must be
considered as cumulative effects and added on top of the baseline when considering whether the
effects of the permit are likely to cause jeopardy.

The cumulative impacts proposed by this applicant and others, which are pending or otherwise
reasonably foreseeable, are extreme. These impacts include, but are not limited to, the 45,000
total acres of mining and development that were pursued under the ECMSHCP for over twelve
years.

As of the date of this letter, Rural Lands West (about 4,000 acres), Bellmar (about 1,790 acres),
and Hogan West (640 acres)16 approximately 6,430 acres of the remaining 39,973 acres
unpermitted but previously considered under the ECMSHCP are now pending before the FDEP
state 404 program. Additionally, the Barron Collier Rod and Gun Club, an approximately 895-

including golf courses, shooting ranges, and residential estates within a panther corridor, was
recently active with FDEP for verification that no state 404 permit was needed.17 In their
withdrawal letter, the applicants state that they soon intend to apply for the FDEP state 404
permit.



12 404 Programmatic BiOp at 16.
13 404 Programmatic BiOp at vii.

14 404 Programmatic BiOp at 66 (discussing cumulative effects of EPA assumption decision).
15 404 Programmatic BiOp at 21.
16

the Prima
remainder of these projects are within Secondary Zone panther habitat.
17




                                                                                                          4
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Therefore, projects put forth in the ECMSHCP are reasonably foreseeable and thus must be
considered by FDEP under the cumulative impacts analysis. It is clear, by advancing the Rural
Lands West and Bellmar projects with the U.S. Army Corps                     404 program and now
the state-assumed 404 program, that the landowners intend to pursue their developments
regardless of whether the ECMSHCP is completed. Moreover, since the 404 Programmatic BiOp
purports to provide authorization for incidental take to State 404 permittees, it is reasonably
foreseeable that the other developments under the Covered Activities will proceed via the State
404 program.

Additional developments, not covered by the now-withdrawn ECMSHCP but located within the
same critical panther areas, are also under consideration by FDEP. The Immokalee Road Rural
Village is adjacent to Hogan West and the ECMSHCP boundary. The project is 2,780 acres, with
676 acres that are Primary Zone panther habitat and the remainder Secondary Zone panther
habitat. It is situated between the 7,000+ acre Bird Rookery Swamp and the Collier County
Panther Walk Preserve, as well as the state protected lands of the Corkscrew Regional
Ecosystem Watershed (CREW). The wetland ecosystems constitute travel ways for large
mammals, and the project site is adjacent to one of the deadliest areas for Florida panthers. The
proposed project includes the construction of a rural village on a 2,787-acre site within the Rural

proposal includes a mixed-use development consisting of residential, commercial uses, and
civic/institutional, with associated infrastructure, amenities, and stormwater management system.
The applicant proposes to construct over 4,000 residential units: 2,842 single family residential
homes and up to 1,200 multi-family residential units.

Eastern Lee County, adjacent to the ECMSHCP boundary, has also experienced extreme
development pressure. The projects known as FFD, Troyer Mine, and Kingston (FKA Old
Corkscrew Plantation) would directly destroy 2,573 acres of Primary Zone panther habitat, and
directly and indirectly impact about 7,400 acres of Adult Breeding Habitat for panthers.18

 Project19             Homes                 Residents             Panther               Primary Zone          Wetland direct
                                                                   habitat
 Rural Lands           5,100                 10,496                4,000 ac              3,100 ac              311 ac
 West
 Bellmar               4,132                 8,683                 1,790 ac              1,790 ac              135 ac
 Collier Rod and       225                   583                   895 ac                895 ac                TBD
 Gun Club
 Hogan West            2,000                 4,893                 640 ac                211 ac                21 ac
 Immokalee             4,042                 9,874                 2,780                 676 ac                244 ac
 Road Rural
 Village
 Troyer Mine           0                     0                     907 ac                841 ac                214 ac
 Kingston              10,000                25,800                6,676 ac              1,177 ac              12 ac
 FFD                   5,208                 13,436                2,596 ac              555 ac                79 ac
 Totals                30,707                73,7652               20,284 ac             9,245 ac              1,016 ac

18 Conservancy of Southwest Florida, August 2, 2022. Letter to FDEP, FWC, and USFWS regarding Troyer Mine

state 404 permit, citing modeling analysis by Dr. Robert Frakes.
19 Selection of state 404 applications. Estimates based on best available information at time of drafting of this letter.




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Additionally, Florida Power and Light Beautyberry Solar Energy Center is a proposed
approximately 2,200-acre project located in Primary Zone panther habitat in Hendry County. 20 A
proposed widening of State Road 82 would widen SR 82 for 23 miles to expand the road from
two lanes to four lanes (and ultimately, to six lanes) through Lee, Hendry and Collier Counties.
The segment between the Collier County line and Gator Slough is under review by FDEP for a
proposed state 404 permit. The continuous flow intersection at the center of the first of seven
parts of this project is expected to average about 2,700 cars per hour, more than a conventional
intersection can handle. The road runs north of and adjacent to important public lands and
panther habitat such as the Wild Turkey Preserve, Corkscrew Mitigation Bank, and Pepper
Ranch Preserve.21                                                 -use development in the DR/GR
area of Lee County requesting 1,600 residences and 350,000 sq ft of commercial development on
1,233 acres. Of those 1,233 acres, 944.5 acres are primary panther habitat. There is also a
proposal to widen 18 miles of SR 29 from Collier County to Hendry County from the existing
two lanes to four lanes. Traffic volumes on SR 29 are projected to increase from 6,200 vehicles
per day to 23,800 vehicles per day by the year 2035. The road widening project is adjacent to or

20 FDEP Oculus file for application #419224-002.
21 WFTX Digital Team, New Continuous Flow Intersection now open in Lehigh Acres (Jul. 9, 2019 6:37 AM),

https://www.fox4now.com/news/local-news/continuous-flow-intersection-now-open-in-lee-county; Florida
Department of Transportation, State Road (SR) 82 from Hendry County Line to Gator Slough Lane, Collier County
Resurface/Add Lanes Financial Project No. 430848-1-51-01(last visited Jul. 15, 2021),
http://www.swflroads.com/sr82/hendrytogatorslough/; No. 9 - S.R. 82 From Lee Boulevard to 40th Street, Roads &
Bridges (last visited July 15, 2021), https://www.roadsbridges.com/no-9-sr-82-lee-boulevard-40th-street; FDOT,
Project description, Project ID 425841-3, http://www.sr82design1.com/ (last visited Jul. 15, 2021).




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near major public lands and habitat.22 Additionally, a proposed widening of Snake Road in
Hendry County would involve approximately eight miles that cross an important wildlife
corridor connecting the Big Cypress National Preserve to public and private lands in southeast
Hendry County and the southwest corner of Palm Beach County.23

Notably, lands within the action area of the Bellmar project have already been eaten away by
development over recent years, particularly in eastern Lee County. Though we highlight just a
handful of projects here, the habitat losses have been substantial. Wildblue Residential
Development (2015), Corkscrew Crossing (2018), The Place (FKA Corkscrew Farms) (2016),
Verdana Village (2020), and Hyde Park (2020), have resulted in 11,600 acres of panther habitat
loss.24 The agencies must consider the impacts of the current proposal and reasonably
foreseeable development combined with the impacts of these developments.




22 Florida Department of Transportation, SR 29 - SR 82 to County Line (last visited Jul. 15, 2021),

http://www.swflroads.com/sr29/sr82tocountyline/; FDOT, SR 29 from North of New Market Road North to SR 82
(last visited Jul. 15, 2021), http://www.swflroads.com/sr29/newmarkettosr82/; FDOT, SR 29 from CR 846 E to
North of New Market Road N (last visited Jul. 15, 2021), http://www.swflroads.com/sr29/cr846tonewmarket/;
FDOT, SR 29 Design from South of Agriculture Way to CR 846 E (last visited Jul. 15, 2021),
http://www.swflroads.com/sr29/agriculturetocr846/; FDOT, SR 29 from Sunniland Nursery Road to South of
Agriculture Way (last visited Jul. 15, 2021), http://www.swflroads.com/sr29/sunnilandnurserytoagriculture/; Tony
Sherrard (FDOT), S.R. 29 PD&E Study From North of S.R. 82 to South of C.R. 80A (last visited Jul. 15, 2021),
http://swflroads.com/sr29/northof82/Images/Hearing%20Handout.pdf
23 Tara Backhouse, Snake Road Construction!, Seminole Tribe of Florida Ah-Tah-Thi-Ki Museum Blog (Feb. 6,

2011), https://ahtahthiki.wordpress.com/2011/02/16/snake-road-construction/.
24 Date of US Fish and Wildlife Service Biological Opinion for each project provided.




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    B.
         of the Bellmar project and other planned development in eastern collier county will
         cause jeopardy to the Florida panther.

FWS has previously made draft determinations indicating that the effects of authorizing the
Bellmar project in combination with other development in Eastern Collier County, and other
reasonably foreseeable impacts, will jeopardize the Florida panther. The Bellmar project was one


Multi-
FWS:

         The first full draft of the HCP was received on April 22, 2015. Modifications to
         the original HCP were received by the Service on October 14, 2017, April 6,
         2018, April 23, 2018, August 22, 2018, March 8, 2019, March 25, 2019, and
         September 17, 2019 (HCP Addendum). Also, a modification to the original ITP
         application was received on September 9, 2019.25

According to FWS, the ECPO applicants submitted a letter to FWS to withdraw their ITP
applications on July 28, 2022.26 While the letter indicates the ECPO applicants wish to withdraw
                                                                               -by-case on [their]
                                                            -                   with some already
                                              27 While not explicitly stated in the letter, the

project-specific reviews the ECPO applicants are referring to apparently are state-assumed Clean
Water Act Section 404 permitting and associated reviews through the technical assistance


regarding jeopardy or non-jeopard                                     28

analyses in publicly available draft Biological Opinions for the proposed ITPs under the
proposed ECPO HCP indicate that the combined effect of the proposed ECPO developments
would cause jeopardy to the Florida panther. FWS has publicly released two draft Biological
Opinions dated from December 2020 and December 2021, respectively. 29 The December 2020
draft BiOp indicates that it is based on an iteration of the HCP from January 28, 2020, whereas

                          30




25 U.S. Fish & Wildlife Service, East Collier Multi-Species ITP/HCP Withdrawal, (posted Sept. 1, 2022)

https://www.fws.gov/library/collections/east-collier-multi-species-itphcp-withdrawal (last accessed Sept. 9, 2022).
26 See id. See also Eastern Collier Property Owners Letter to USFWS dated 07/28/2022 Withdrawing their Incidental

Take Permit applications, available at https://www.fws.gov/media/eastern-collier-property-owners-letter-usfws-
dated-07282022-withdrawing-their-incidental-take.
27 Id. at 2 3.
28 U.S. Fish & Wildlife Service, East Collier Multi-Species ITP/HCP Withdrawal, (posted Sept. 1, 2022)

https://www.fws.gov/library/collections/east-collier-multi-species-itphcp-withdrawal (last accessed Sept. 9, 2022).
29 It is our understanding that there is a 2022 draft of the BiOp, but we do not currently have public access to a copy.
30 Compare Biological Opinion and Conference Opinion, Eastern Collier Multi-Species Habitat Conservation Plan

                                  -CO-                                                                      [submitted
with these comments for inclusion in the administrative record] to Biological Opinion and Conference Opinion




                                                                                                                      8
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A February 24, 2021 letter from the ECPO ITP applicants to FWS regarding the December 2020


improvement projects (wildlife crossings and

                                                                                                 31


Indeed, the December 2020 draft HCP BiOp makes clear that, even taking into account the
proposed mitigation measures under the draft ECPO HCP, the proposed ECPO developments
would result in a statistically significant increase in the risk of extinction for the Florida panther,
with a net loss of 12 panthers per year at full build-out.32 The December 2020 draft HCP BiOp
found that the risk of extinction with the HCP increased to 5.7%, compared to an extinction risk
of approximately 1.1% or 1.38% without it.33 The December 2020 draft HCP BiOp then
explained that to sufficiently reduce the increased risk of extinction so that it was no longer a
statistically significant increase, additional mitigation measures and/or changes to the proposed
developments to increase internal capture rates for traffic or otherwise reduce impacts would be
required.34 The 2020 draft HCP BiOp stated:

         If the Applicants are able to achieve a greater than 50 percent community
         (internal) capture rate, further reduce the effects of their action, or mitigate them
         through use of the Marinelli Fund for habitat restoration to the extent that the net
         effect is a loss of no more than 10 adult panthers (4 female adult panthers)/year
         above present (from all causes) our analysis finds the probability of extinction
         falls from 5.7 percent to 1.4 percent. This probability of extinction is within the
         95 percent C.I. [confidence interval] of scenarios where no additional panthers are
         taken above present (i.e., not significantly different from baseline).35

The next paragraph in the December
                                                                            fewer than 10
panthers per year at full build-
community (internal) trip capture, adaptive management, and the mitigative effects of actions


Eastern Collier Multi-Species Habitat Conservation Plan (filename DRAFT-USFWS-ECPO-full-Biological-
Opinion-December-                                                       [submitted with these comments for inclusion
in the administrative record].
31                -
Chief, Environmental Review Division, U.S. Fish and Wildlife Service, Southeast Region by Bruce Johnson,
Principal, Senior Scientist , Stantec Consulting Services, as attachment to letter dated February 24, 2021. (Obtained
from FWS via FOIA) [submitted with these comments for inclusion in the administrative record]; see also Email
from Leopoldo Miranda, Regional Director, FWS, to Jack Arnold, Acting Assistant Regional Director, FWS,
regarding a Revised ECPO Information Memorandum (June 5, 2019) (quoting a draft information memorandum

preliminary, internal analyses of traffic volume effects on the continued survival or recovery of the Florida
pan         [submitted with these comments for inclusion in the administrative record].
32 Biological Opinion and Conference Opinion, Eastern Collier Multi-Species Habitat Conservation Plan (filename

                      -CO-                                                                          159.
33 Id. at 158 159.
34 See id. at 159.
35 Id. at 159.




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                                         36 In short, the December 2020 draft HCP BiOp shows that the

combined impacts of the proposed ECPO developments would cause jeopardy to the Florida
panther absent additional changes to the design or additional mitigation measures to reduce the
anticipated number of annual panther losses caused by implementing the proposed covered
activities.

The December 2021 draft HCP BiOp similarly states:

         [O]ur PVA [population viability analysis] predicts the implementation of the
         HCP, in the absence of further actions to reduce the impact of the action to the
         panthers, could reduce the abundance of panthers across their range such that the
         probability of extinction is predicted to increase from 1 percent (95 percent C.I.
         0.2 to 1.8 percent) to 5.7 percent (95 Percent C.I. 2.2 to 9.2 percent). When
         cumulative effects are added to the effects of the HCP the probability of
         extinction further increases to 6.6 percent (95 percent C.I. 2.3 to 10.9 percent).
         The probability of extinction after implementation of the HCP is statistically
         significantly different than baseline conditions. If the Applicants are able to
         achieve a greater than 50 percent community (internal) traffic capture rate, further
         reduce the effects of their action, or mitigate them through use of the Marinelli
         Fund for habitat restoration to the extent that the net effect is a loss of no more
         than 10 adult panthers (4 female adult panthers)/year above present (from all
         causes) our analysis finds the probability of extinction falls from 5.7 percent to
         1.4 percent. This probability of extinction is within the 95 percent C.I. of
         scenarios where no additional panthers are taken above present (i.e., not
         significantly different from baseline).37



Notably, whereas the draft HCP BiOps both state that additional panther losses must be limited

that the number actually must be fewer than 10 over present levels to avoid a statistically
significant increase in extinction risk. 38

Just like the 2020 draft HCP BiOp, the modeling in the 2021 draft HCP BiOp finds that, even
with 8 wildlife crossings and assuming a 50% internal capture rate for traffic, implementation of
the HCP will cause a total of 12 additional panther deaths per year, 8 from vehicle collisions
resulting from increased traffic induced by the HCP developments, and 4 from habitat loss and

36 2020 draft HCP BiOp at 159 (emphasis added).
37 2021 draft HCP BiOp at 148.
38 See

comparison of possible thresholds found that the probability of extinction 100 years after ITP expiration of BSLR,
BSLR + HCP, and BSLR + HCP + CE scenarios do not differ significantly (1.38 percent Prext versus the 1.1±0.8
percent Prext estimated for BSLR) if fewer than 10 adult panthers (4 female panthers) total are taken annually,
                                                 HCP BiOp at 133
though there was still a difference in final abundances, the probability of extinction 100 years after ITP expiration
does not differ significantly from Baseline + Sea Level Rise (1.38 percent Prext versus the 1.1±0.8 percent Prext
estimated for BSLR) if fewer than 10 adult panthers (4 female panthers) total are lost annually, above present, from
any cause (e.g., habitat




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degradation.39 And both the 2020 and 2021 BiOps find that the cumulative effects of traffic
induced by other non-HCP, non-federally authorized actions will cause an additional 2 panther
deaths per year, even after accounting for the mitigation provided by 8 wildlife crossings. 40 In
sum, both versions conclude that the additional panther deaths associated with implementation of
the HCP will be 12 per year, and that such panther losses must be limited to fewer than 10 per
year to avoid a statistically significant increase in the risk of extinction (i.e. jeopardy). Both
versions indicate that additional changes to the proposed HCP, such as commitments to achieve
internal capture of traffic greater than 50% and/or additional commitments for mitigation, would
be necessary to conclude that the panther losses will be reduced to 10 or fewer.

Based on the available records, there appears to be no indication that the HCP applicants further
modified their project designs or mitigation commitments to achieve the necessary reductions in
the number of additional panther losses per year.41
appear to indicate that, absent additional changes to the project designs to increase internal
capture above 50% or commitments for additional avoidance or mitigation of impacts, the
combined impacts of the Bellmar project and the other projects formerly part of the proposed
HCP, will result in total panther losses that are likely to cause jeopardy to the Florida panther.

This result is especially concerning because the 2020 and 2021 draft HCP BiOps reflect multiple
assumptions that result in underestimating the risk of extinction, as detailed below in section I.C.

    C. The 2020 and 2021 draft HCP BiOps underestimate the risk of extinction for
       Florida Panthers and the impacts of the HCP Covered Activities, which include the
       Bellmar project, on that risk.


the cumulative effects of the Bellmar project and other proposed projects will jeopardize the
Florida panther, even these analyses underestimate the harm to the species and the extent of
projected jeopardy by relying on unsupported assumptions. To accurately and lawfully consider
the direct, indirect, and cumulative effects of Bellmar on the panther and other listed species, the
agencies must first address these problematic assumptions.




39 See 2020 draft HCP BiOp at 153, lines 5444-5447; 2021 draft HCP BiOp at 142, lines 5055-5057.
40 See 2020 draft HCP BiOp at 153; 2021 draft HCP BiOp at 142.
41 In contrast to the Florida panther opinion section from the 2020 draft HCP BiOp, the 2021 draft HCP BiOp omits

a paragraph indicating that a no jeopardy conclusion hinged on additional changes such as assuring greater internal
capture of traffic or committing to additional impact reductions or mitigation. In its place is a paragraph indicating
that instead of actually specifying the changes to the HCP necessary to ensure greater internal capture rates above
50%, or to ensure commitments to undertake specific additional avoidance or mitigation measures, the Service may

to somehow provide an avenue for additional impact reduction post-permit issuance. Compare 2021 draft HCP
BiOp at 148 to 2020 draft HCP BiOp at 159. Notably, in ESA contexts, courts have found that the Service

ESA standards. See, e.g., Greater Yellowstone Coal., Inc. v. Servheen, 665 F.3d 1015, 1025 28 (9th Cir. 2011)

of impacts on population from harmful factor was unlawful given lack of specific criteria to address that factor).




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        1. In estimating extinction risk resulting from implementation of the HCP, the

             Activities will result in 50% internal capture, despite evidence indicating actual
             internal capture rates as low as 2% for proposed projects.

In estimating the impacts to panthers from increased traffic that would be induced by
implementation of the HCP, the modeling in both the 2020 and 2021 draft HCP BiOps assumes
that the developments under the Covered Activities will have a 50% internal capture rate. That


                                          42 Despite adopting that assumption in the modeling, the 2020

draft HCP BiOp conceded that:

        [R]ecent proposals for residential communities submitted by the Applicants to
        Collier County in the Plan Area indicate some communities being planned will
        achieve an internal capture rate of 2 percent

        of Ave Maria are constructed, it is likely the traffic model will underestimate
        future traffic volume generated by development proposed in the HCP, and thus
        the total impact the proposed developments may have on panthers. If the
        Applicants build communities with a lower internal capture rate, but still use the
        $12.5 million to construct crossings (e.g., 8 crossings are constructed), we would
        nonetheless expect higher panther mortality due to greater traffic on existing
        roads (Tables 13a and 13b in Appendix I).43

In other words, the 2020 draft HCP BiOp conceded that, even if 8 wildlife crossings were built,
its model would underestimate the actual impacts to panthers if the proposed developments

with the reality that at least some of those proposed developments would apparently achieve a
mere 2% internal capture rate, FWS clearly underestimated projected impacts for the panther.
The 2021 draft BiOp similarly states:

        One of the more important assumptions made when the traffic model was
        produced was that future developments proposed in the HCP would have daily
        internal trip capture rates similar to the community of Ave Maria, which
        approaches 50 percent. However, recent proposals for residential communities
        submitted by the Applicants to Collier County in the Plan Area indicate some
        communities being planned will achieve an internal capture rate of 2 percent as

        achieve the internal capture rate of Ave Maria are constructed, it is likely the
        traffic model will underestimate future traffic volume generated by development



42 2020 draft HCP BiOp at 129; see also

housing density, number of people per dwelling, employment, and daily vehicle trips per household would be

43 2020 draft HCP BiOp at 129   130 (emphasis added).




                                                                                                             12
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         proposed in the HCP, and thus the total impact the proposed developments may
         have on panthers.44

And the 2021 draft HCP BiOp further states:

         [I]t is possible future developments will have a lesser internal traffic capture rate,
         higher dwelling unit density, and higher number of residents per dwelling unit
         than the Town of Ave Maria, which was a template for future development
         proposed in the HCP when we estimated how much traffic would likely be
         generated on existing roadways. If this were to occur, we would expect to see
         greater traffic volume and effects to panthers than we have estimated in this BO. 45

Nonetheless, neither BiOp indicated that FWS intended to provide any binding requirement that
would actually ensure internal capture of at least 50%. Nor does either BiOp assert that the HCP
itself provides plan components that would result in at least 50% internal capture. Instead,
maintaining at least 50% internal capture is merely suggested as a conservation
recommendation.46
12 panther deaths per year, with 8 of those deaths resulting from increased traffic, are based on
an assumption about internal capture that was not supported by actual internal capture rates, nor
assured by any binding requirement, nor incorporated as a fixed feature of the proposed action. 47
And the PVA modeling used to reach conclusions about extinction risk from implementation of
the HCP were based on the similarly assumed 12 panther deaths per year from the HCP, with 8
from increased traffic, based on the internal capture rate of 50% and 8 crossings.

Importantly, both of the draft HCP BiOps do contain analyses showing how lower internal
capture rates increase the number of panther fatalities per year that would result from the HCP




44 2021 draft HCP BiOp Appendix H (Analysis of Panther Motor Vehicle Mortality) at 7 (emphasis added).
45 2021 draft HCP BiOp at 136.
46 See 2021 draft HCP BiOp at 310 (suggesting maintaining internal capture of at least 50% as a conservation

recommendation); 2020 draft HCP                                                                     does not identify
explicit targets for internal trip capture, a maximum number of crossings, where they will be located, or what
measures they are likely to take to maximize their effectiveness. Thus, our analysis remains confined to the
assumption of 50% internal trip capture in newly constructed communities and the construction of a minimum of 8

47 Consequently, reliance on that assumption of 50% internal capture to reach a no jeopardy conclusion would

violate the ESA because achievement of that rate was not reasonably certain to occur based on the record before
FWS, and apparently was not assured by any binding requirement or component of the plan. See, e.g.,
                                      ., 524 F.3d 917, 935 36 (9th Cir. 2008) (requiring measures relied on to reach
no jeopardy conclusion be set forth in specific and binding plans).
agency actions are not likely to cause jeopardy, 16 U.S.C. § 1536(a)(2), plainly requires that the Services cannot
reach a no jeopardy conclusion that relies on mitigation offsetting harm unless there is reasonable certainty that the
mitigation will actually render jeopardy unlikely. As the Supreme Court has recognized in construing section

                                           , 551 U.S. 644, 667 (2007) (quoting appellate court, in turn quoting
Oxford English Dictionary 1059 (2d ed.1989)). The plain text of the Act therefore requires that the Service cannot
issue a no jeopardy conclusion unless the action agency has indeed made it certain, secured, or guaranteed that
mitigation relied upon to avoid jeopardy will actually occur.




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developments at a given number of wildlife crossings. 48 That analysis indicates, for example, that
assuming 8 wildlife crossings added by the HCP, an internal capture rate of 30% would add
approximately three more panther deaths per year than an internal capture rate of 50%. 49 That
analysis also shows how the total number of panther fatalities from the HCP and cumulative
effects would change with lower internal capture rates.50

However, the BiOps do not include any modeling to estimate the extinction risk from the HCP
associated with internal capture rates under 50%. This is critical where, to the extent the
applicants are working to increase the internal capture rate by merging Bellmar into the larger
Rural Lands West project, there is no data to suggest it would reach the 50% threshold set forth
in the draft HCP BiOps.

Consequently, in evaluating whether the Bellmar project, considered with the cumulative effects
of other reasonably foreseeable state and private actions (such as the other former HCP projects
and the cumulative effects in the draft HCP BiOps), will likely cause jeopardy to the Florida
panther, the agencies must consider what the actual internal capture rates of the projects will be,
and how those capture rates will affect the total additional panther mortalities that will
foreseeably result from the developments.

        2. The draft HCP BiOps underestimate the impacts on panthers by
           underestimating the amount of traffic induced by the developments
           covered under the draft HCP.

                                                                                       ervice
attempts to estimate a density for proposed development to estimate a likely population in the
eastern Collier area. The Service estimates that the Town of Ave Maria is 1.4 units per acre and
                                                         al unit density on the remaining 39,973
                                   51 The resulting population estimate is approximately 152,000

people. However, the Bellmar project, and the other locally approved projects, have an average
density of 2.6 development units per acre and an average of 2.5 people per household. 52 With a




48 See 2020 draft HCP BiOp Appendix I at Table 2a [2020 draft HCP BiOp Appendices submitted with these

comments for inclusion in the administrative record]; 2021 draft HCP BiOp Appendix H at Table AH2a [2021 draft
HCP BiOp submitted with these comments for inclusion in the administrative record].
49 See 2020 draft HCP BiOp Appendix I at Table 2a; 2021 draft HCP BiOp Appendix H at Table AH2a.
50 See 2020 draft HCP BiOp Appendix I at Table 13b; 2021 draft HCP BiOp Appendix H at Table AH2b.
51 2021 draft BiOp at Appendix B.1.
52 Average density for the components of Rural Lands West is 2.6 development units per acre (per Approved Town

Agreement between Collier County Board of County Commissioners and Collier Land Holding, LLC/CDC Land
Investments, LLC, dated June 8, 2021. And respective Village approvals, Collier County Resolution 2021-119,
Collier County Resolution 2020-24). Density for Bellmar Village (a portion of state 404 footprint) is 2.75
development units per acre (per Collier County Resolution 2021-120). Other projects such as Hogan West (AKA
Brightshore Village) have a projected density of 2.9 development units per acre (per Brightshore Village SRA
Development Document for Collier County SRA Application, June 29, 2022). Of the seven Stewardship Receiving
Areas (SRA) approved and pending in eastern Collier County, the average density is 2.6 development units per acre.
The average persons per household in Collier County is 2.54 based on Census information accessed at
https://www.census.gov/quickfacts/fact/table/colliercountyflorida,US/HCN010217.




                                                                                                               14
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the eastern Collier area would be closer to 300,000+ people.53

This underestimation of human population -and the number of cars on roadways- within Bellmar
and other reasonably foreseeable development can also be found when looking at the Economic
Assessments provided to Collier County. The assessments for Rural Lands Wests, Bellmar,
Hogan West, and others have averaged around 6.7 people per acre, which again estimates the
population for the eastern Collier developments at around 300,000 people. 54

         3. The draft 2021 HCP BiOp underestimates cumulative effects by failing to
            update the analysis in lig
            404 permitting.

Both the 2020 and 2021 draft HCP BiOps use the same assumptions about future non-HCP, non-
federal actions in their modeling of cumulative effects. Both draft HCP BiOps assume that
25.3% of future, non-HCP developments will occur without a federal permitting nexus to trigger
federal action, and therefore warrant inclusion in the assessment of cumulative effects as defined
per 50 C.F.R § 402.02.55 Both draft HCP BiOps only consider the traffic impacts of that 25.3%
of future development in modeling the cumulative effects, and the increased extinction risk
resulting from the HCP plus cumulative effects. Yet by December 2021, Florida DEP had
assumed Clean Water Act Section 404 permitting
Program, a decision that drastically altered whether future projects would require a federally
issued permit to fill wetlands. Though 404 permits for wetlands fills now frequently will be
issued by the state rather than the U.S. Army Corps of Engineers, the 2021 draft HCP BiOp does
not appear to engage in any re-evaluation of whether it is still true that only 25.3% of future,
non-HCP developments will entail no federal action subject to ESA section 7 consultation.
Consequently, it is plain that the analysis in the BiOps fails to address the reality that a much
larger proportion of non-HCP traffic induced in the action area will be from future projects that
will not be subject to ESA section 7 consultation due to the State 404 permitting scheme, and
therefore should have been evaluated as sources of cumulative effects.

As the Service recognizes in the draft 2021 HCP BiOp documents, a jeopardy determination
must be based on whether the action, either individually or taken together with cumulative
effects, will appreciably diminish the likelihood of survival or recovery for the species.56 By

53 Any mining within the eastern Collier HCP area is likely to become lake-front development once mining uses are

complete. The estimate of over 300,000 people does not include the addition of one home per five-acre ranchettes.
54 Based on information provided in DPFG Town of Big Cypress Economic SRA Assessment, Revised June 28,

2022, p. 42; DPFG Bellmar Village SRA Economic Assessment, Revised January 8, 2021, p. 36; DPFG Longwater
Village SRA Economic Assessment, Revised January 8, 2021; DPFG Rivergrass Village SRA Economic
Assessment, Revised September 3, 2019, p. 38. DPFG Brightshore Village (AKA Hogan West) SRA Economic
Assessment, Revised August 26, 2022, p. 31; DPFG Hyde Park Village (aka Skysail) Economic Assessment,
Revised November 13, 2019, p. 35.
55 Compare 2021 draft HCP BiOp Appendix H at 5 6; 2021 draft HCP BiOp Appendix J at 1, 2-3 to 2020 draft HCP

BiOp Appendix H at 4 of 8; 2020 draft HCP BiOp Appendix J at 1.
56 See 2021 draft HCP BiOp Appendix L at 10         Under section 7 of the ESA, we compare the future with the project
scenario (BSLR + HCP) to the Baseline condition (BSLR) to help us determine whether the effects of the action are
likely to result in an appreciable decrease or increase in the probability of survival and recovery over time. In
addition, under section 7 of the ESA, we consider the cumulative effects, and compare the future with the project




                                                                                                                   15
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failing to evaluate the impacts of all of the reasonably foreseeable non-HCP future development
that will not entail federal action subject to ESA consultation requirements, the draft HCP BiOps
underestimate the increased risk of extinction that will result from the HCP projects and other
reasonably foreseeable non-HCP development in the action area.

         4.                               PVA modeling underestimates baseline risk of
              extinction because it assumes artificial introgressions to maintain genetic health
              will be conducted, even though there are no plans to conduct those
              introgressions.

The 2021 draft HCP BiOp makes clear that a key assumption of the PVA modeling it used to

population through translocation when necessary, and in a manner consistent with the
recommendations of van de Kerk et al.         57 The Service explains that:


         If recommendations of introducing 5-10 individuals from other Puma populations
         every 20-
         of quasi-extinction would increase to 13 percent (0 99) at 100 years and 23
         percent (0 100) at 200 years (Minimum Population Count Scenario) or to 10
         percent (0 99) at 100 years and 12 percent (0 99) at 200 years (Motor Vehicle
         Mortality Scenario). If the van de Kerk et al. (2019) re
         adopted, it would mean our estimates of extinction probability and abundance
         would change similarly.58

 Although the risk modeling in the BiOp is therefore based on the assumption that the Service
 will undertake those actions to supplement the panther population, the draft 2021 HCP BiOp
 concedes that the Service in fact has no actual plans to conduct those actions; the draft 2021

 to increase                                                                           59

 Consequently, it is arbitrary and capricious for the Service to base its analyses of extinction
 risks, and jeopardy, on the assumption that these actions will take place when the Service
 concedes that it is in fact unknown whether those actions will occur or not. There is no
 indication that the Service even attempted to evaluate how changing that assumption would alter
 its analysis of total extinction risk with the HCP, or the total extinction risk with the HCP and
 cumulative effects. So while the 2021 draft HCP BiOp does acknowledge that the baseline
 extinction risk would be substantially higher absent these management activities to supplement
 the population, it fails to evaluate the compounding effect of the HCP and cumulative impacts
 against a baseline scenario of substantially increased risk. When considering the direct, indirect,




and cumulative effects scenario (BSLR+HCP+CE) to the Baseline condition (BSLR) to help us determine whether the
effects of the action along with other actions that are reasonably certain to occur in the future without consultation
with the Service are likely to result in an appreciable decrease or increase in the probability of survival and recovery
over time.                                                                                           .
57 2021 draft HCP BiOp Appendix L at 1.
58 2021 draft HCP BiOp Appendix L at 12.
59 2021 draft HCP BiOp at 141.




                                                                                                                      16
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 and cumulative effects of the Bellmar project, the agencies must correct this unsupported
 assumption.

         5. The draft HCP BiOps conceal the true risk of extinction by using speculation
            about carrying capacity to mask the impacts of habitat loss from sea level rise.

The PVA modeling results in both draft HCP BiOps conceal the true baseline risk of extinction
by averaging together the results from model runs based on three different assumptions about
whether the population is currently at carrying capacity for the remaining habitat. Although past
PVAs assumed that the population reflected either 100% of the carrying capacity of the existing
habitat, or 80% of the carrying capacity, the draft HCP BiOps, with little explanation or
justification, also assume that the current population may reflect only 60% of the carrying
capacity of the existing habitat.60

First, the assumption that the current population reflects only 60% of the carrying capacity of the

scientific information. The 2021 draft BiOp states:

             The present Florida panther population is at or near average annual carrying capacity
             (K) of habitat south of the Caloosahatchee River. However, it
             is possible future habitat management may increase carrying capacity to range-wide
             effect. It is also possible present assumptions about maximum attainable panther
             densities are wrong. Thus, we assume the true K could actually be up to 40 percent
             higher than the present population size.61

                                                                                               r
than on what conditions are likely based on the best available scientific information, in violation
of ESA requirements.
carrying capacity is unknown but Service and FWC biologists infer the population may be at or
near carrying capacity (K)
N0 (the current population size) represents 100 percent, 80 percent, and 60 percent of carrying
          62 There is no explanation of how 60% of carrying capacity is somehow rationally


                                                                                                          full. This

studies cited by FWS regarding population trends could not be relied on to rule out that the
population may already be either stable or in decline, rather than growing.63 Moreover, the most

60 See                                                                past PVA only utilized N0 = K0 and N0 = 80
percent of K0 . Our current PVA incorporates scenarios where N0 may equal 60, 80, and 100 percent of K0 .
61 2021 draft HCP BiOp Appendix L at 2 (emphasis added).
62 2021 draft HCP BiOp Appendix L at 7 (emphasis added).
63 See 2021 draft HCP BiOp Appendix M at 3 of 166

the Florida panther population over time contained a great deal of uncertainty. Particularly, he noted that though the
central tendency of these estimates indicates a growing population, the confidence intervals surrounding these

rejected. Dr. Martin also indicated concern that were the panther population to be declining, rather than growing,
future catastrophes, such as disease outbreaks of more serious diseases than seen to date, could have a greater affect
[sic]                                                                                                   , the Service




                                                                                                                    17
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recent population estimates indicate that the population is no longer increasing. As the 2020 SSA
acknowledges, the most recent population trend data indicate the population did not grow
between 2016 and 2018, and began to decline from 2017 to 2018.64

Second, rather than separately presenting the results of models based on the assumption of the
population being at 100%, 80%, and 60% of the carrying capacity of the habitat, the draft HCP
BiOps only present the results showing the averaging of model runs reflecting these three very
different carrying capacity assumptions. Thus, the draft HCP BiOps conceal the extinction risk
associated with the impacts of habitat loss given the more realistic assumption that the
population
models sea level rise by 2070 as resulting in an 18% habitat loss for the Florida panther. 65 Yet its
model shows little impact on the projected future population from that enormous amount of
habitat loss, and indeed, shows the same result as a prior model that totally failed to address the
impacts of sea level rise (SLR)-related habitat loss at all.66 Without ever contemplating whether
that might indicate that there is some

                                                                              67 FWS totally fails to consider

that the reason that there is little impact from this enormous amount of habitat loss is because the
assumption that the current population is only at 60% of carrying capacity would mean that the
population could still grow by about 20% even with a 20% habitat loss. And the assumption that
the current population is at 80% of carrying capacity similarly would mean that the population
can stay the same, even with a 20% habitat loss. Averaging these results together with the
scenario where the population is already at 100% of carrying capacity, and therefore would
likely drop by about 20% in response to a 20% habitat loss would unsurprisingly mask the
substantial population drop under the K = 100% scenario by averaging it out against the increase
under the K= 60% scenario. Indeed, it is almost as if the modeling, and the otherwise arbitrary
choice of the K=60% scenario was selected specifically to ensure this result, and mask the
impacts of SLR on the baseline extinction risk.

Notably, the 2020 draft HCP BiOp acknowledges that the choice of carrying capacity explained
a substantial portion of the variance in the projected abundances, but otherwise fails to examine
how the treatment of carrying capacity in the modeling irrationally and unreasonably masked the
impacts of SLR. 68 This error taints both the representations about the baseline extinction risk,
and the impact of the HCP and cumulative effects in compounding the baseline extinction risk,
with the upshot being that the analysis in the HCP BiOps underestimates the extinction risk




this was but one possibility for the true population trend but that others, like population decline, could also be

64 See U.S. Fish and Wildlife Serv. 2020. Species Status Assessment for the Florida Panther. Version 1.0. September


65 2021 draft HCP BiOp Appendix L at 8.
66 See 2021 draft HCP BiOp


67 2021 draft HCP BiOp Appendix L at 12.
68 See 2020 draft HCP BiOp at 145 (stating that the choice of carrying capacity explained 17.8% of the variance in

final abundance whereas scenario explained 38.15%, and initial population 33.09%).




                                                                                                                     18
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resulting from the impacts of the HCP and cumulative effects exacerbating the disastrous habitat
loss from SLR.

         6. The PVA modeling underestimates extinction risk by failing to account for the
            impacts of additional habitat loss from SLR between 2070 and 2170.

The PVA modeling relied on in the draft HCP BiOps to estimate extinction risk evaluates what
the Florida panther population will be 100 years after the end of the proposed 50-year period for
the proposed Incidental Take Permits in 2070.69 FWS explains that its PVA model accounted for
                                                                             an effect in the
baseline portion of [the] assessment[.]70                                                -wide
effects on demographic parameters and habitat availability for panthers within the proposed
                              71 FWS estimated that by 2070, 1 meter of SLR would cause the
                                                   72

would accumulate linearly and only to 1 m by 2070, and divided the acreage by 50 years with 0
acres lost to SLR being equivalent to a proportion of individuals represented by a given N 0
and to 18 percent of habitat loss to SLR being equivalent to 18 percent of N 0 73 FWS explicitly

2070                                                                          74 Thus, FWS

apparently only modeled habitat loss due to SLR up until 2070, but did not account for additional
habitat loss that would occur as sea levels continue to rise after 2070.
to assess the population 100 years after 2070 but ignores the impacts on that population of
continued habitat loss from SLR between 2070 and 2170, even though SLR projections are
available through at least 2100. Indeed, in the 2020 Species Status Assessment for the Florida
Panther, FWS used sea level rise models of up to two meters to estimate possible loss of panther
habitat through 2100.75 And, in 2017, NOAA estimated that global mean sea level rise in 2100
would be nearly double that in 2070 under the Intermediate through High scenarios. 76 By failing
to account for continued sea level rise related habitat loss after 2070, the PVA modeling likely
overestimates panther abundance in 2170 and underestimates the extinction risk. Revised

69 See                                                                                              -year
population trajectory (50-year build-out plus 100 years beyond) and compared the predicted change in population

Florida panther under Baseline with Future Sea Level Rise (BSLR), BSLR plus HCP Development Effects
(BSLR+HCP), and BSLR+HCP plus Cumulative Effects (BSLR+HCP+CE) scenarios given three different
beginning female panther population sizes. BSLR = Baseline (Current conditions + 1m SLR by 2070) and the end
time is 100 years after HCP full build-
70 2021 draft HCP BiOp at 132.
71 2021 draft HCP BiOp at 132.
72 2021 draft HCP BiOp Appendix L at 8.
73 2021 draft HCP BiOp Appendix L at 8.
74 2021 draft HCP BiOp Appendix L at 2.
75 U.S. Fish and Wildlife Serv. 2020. Species Status Assessment for the Florida Panther. Version 1.0. September

                                                see also SSA at 230 32.
76 See Sweet, W. V., R. E. Kopp, C. P. Weaver, J. Obeysekera, R. M. Horton, E. R. Thieler, and C. 12769 Zervas.

2017. Global and regional sea level rise scenarios for the United States. NOAA 12770 Technical Report NOS CO-
OPS 083. National Oceanic and Atmospheric Administration, 12771 Silver Spring, MD, at 23 (Table 5), available at
https://tidesandcurrents.noaa.gov/publications/techrpt83_Global_and_Regional_SLR_Scenarios_for_the_US_final.p
df (showing GMSL in 2070 of 0.57 m, 0.79 m, and 1.0 m for the Intermediate, Intermediate-High, and High
scenarios, and GMSEL in 2100 of 1.0 m, 1.5 m, and 2.0 m for those same scenarios, respectively).




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analysis to correct this problem is necessary, and should utilize the best available scientific
                                                                                          77


     D. The agencies cannot rely on proposed mitigation for species impacts in the
        ECMSHCP because the applicant has withdrawn its associated permit application
        and thus the ECMSHCP provides no assurances the mitigation will occur.

The Bellmar applicant and other landowners have been seeking incidental take coverage through
the ECMSHCP for development of 45,000 acres since 2010. In a letter submitted to the U.S. Fish
and Wildlife Service (FWS) in July 2022, the landowners formally withdrew their application for
an incidental take permit.78 However, to-date we have not seen any documentation indicating
that the applicant has informed FDEP that the ECMSHCP application has been withdrawn or that
the applicant has updated its application materials to reflect this significant change. As the
ECMSHCP has been withdrawn by the applicant, any promises from the applicant to adhere to
the tenets of the ECMSHCP are toothless unless incorporated as conditions in the FDEP permit,
if awarded.

Moreover, fatal flaws in the ECMSHCP have not evaporated; our letters regarding the proposal
and the review by experts are enclosed. We do not consider any intent to work towards the tenets
of the ECMSHCP79 adequate to meet the requirements of the state 404 program nor the
Endangered Species Act.

     E. The applicant has failed to provide necessary information for the agencies to


On August 31, 2022, FWS corresponded with FDEP to request additional time to prepare
appropriate conservation recommendations for the Bellmar project, taking into account the
p                                                                          80 FWS further




77
   See, e.g., Sweet, W.V., B.D. Hamlington, R.E. Kopp, C.P. Weaver, P.L. Barnard, D. Bekaert, W. Brooks, M.
Craghan, G. Dusek, T. Frederikse, G. Garner, A.S. Genz, J.P. Krasting, E. Larour, D. Marcy, J.J. Marra, J.
Obeysekera, M. Osler, M. Pendleton, D. Roman, L. Schmied, W. Veatch, K.D. White, and C. Zuzak, 2022: Global
and Regional Sea Level Rise Scenarios for the United States: Updated Mean Projections and Extreme Water Level
Probabilities Along U.S. Coastlines. NOAA Technical Report NOS 01. National Oceanic and Atmospheric
Administration, National Ocean Service, Silver Spring, MD, 111 pp., at 23,
https://oceanservice.noaa.gov/hazards/sealevelrise/noaa-nostechrpt01-global-regional-SLR-scenarios-US.pdf
(projecting relative sea level rise in 2100 in the eastern Gulf of Mexico will be 1.2, 1.7, and 2.2. meters under
intermediate, intermediate-high, and high scenarios, respectively)
78 U.S. Fish & Wildlife Service, East Collier Multi-Species ITP/HCP Withdrawal, (posted Sept. 1, 2022)

https://www.fws.gov/library/collections/east-collier-multi-species-itphcp-withdrawal (last accessed Sept. 9,
2022).USFWS response to HCP withdrawal, provided by email on September 1, 2022, and enclosed
79 Eastern Collier Property Owners Letter to USFWS dated 07/28/2022 Withdrawing their Incidental Take Permit

applications, available at https://www.fws.gov/media/eastern-collier-property-owners-letter-usfws-dated-07282022-
withdrawing-their-incidental-take.Letter dated July 28, 2022, from ECPO re: Withdrawal of ECPO Incidental Take
Permit Applications
80 Email from Charles Kelso, U.S. Fish and Wildlife Service, to Toby Schwetje, Florida Department of



proposal (Aug. 31, 2022).




                                                                                                               20
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         Because our recommendations are based on anticipated effects of the action, the


         Assessment to include an estimate of panther mortality due to traffic volume
         increases upon project completion.81

The agencies had already requested in a prior Request for Additional Information (RAI) for the
                                                                        The traffic analysis should
include an estimation of daily trips generated by village residents, employees, and municipal
                                                                          82 However, this

information was not provided and yet FDEP still advanced the Bellmar project to Public Notice.

The applicant has obscured the amount of traffic attributable to the Bellmar 404 project, and, as
illustrated above, this information is vital to avoiding jeopardy to the Florida panther. The
                                                     a proportional level of coverage for the

should FDEP complete their review before an ITP is issued.83 However, critical information in
which the agencies would need to ensure roadkill mortalities are adequately considered and
avoided is not provided.


traffic engineer calculated that total traffic created by the 1,000 acre Bellmar Village would be
26,232 trips per day.84 Please note that this estimate is for only part of the state 404 project
area there are more than 700 acres, 1,000 additional residential units, and commercial
development not included in this estimate that, if developed, will generate thousands of
additional trips to this total.

The table below summarizes the information available through the Collier County materials in
regard to the Bellmar 404 application and a portion of the Rural Lands West state 404 project.85
This 404 application is fairly equivalent to the village of Bellmar and most of the town connector
as seen in the table below.




81 Id.
82 FDEP, 2021. Request for Additional Information, Bellmar. August 20, 2021.
83 Letter from Applicant to FDEP dated April 14, 2022, page 14
84 Traffic Impact Statement for Bellmar Stewardship Receiving Area (SRA) by Treblicock Engineering for Collier

Enterprises dated August 19,2020, p. 7, Table 2. The project footprint for the Bellmar SRA is at least 700 acres less
than the state 404 project that is the subject of this letter.
85 Traffic Impact Statement for the Town of Big Cypress SRA, Section 1, Road Segment Analysis, Trebilcock

Consulting Solutions, June 2022,Page 7. The Town of Big Cypress SRA, as known at the Collier County level,
includes the state 404 Bellmar project, and a portion of the Rural Lands West state 404 project. There would be
about an additional 1,000 acres of development added to these figures as part of the Rural Lands West state 404
project footprint.




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                                       TOWN OF BIG CYPRESS
                                            Estimated daily trips generated
                           Rivergrass86                23,929
                           Longwater87                 24,919
                           Bellmar88                   26,232
                           Town Connector              64,125

                                                                139,205*

                                                    *Does not include a portion of
                                                    the state 404 Rural Lands West
                           Total 89                 project

                           Bellmar state 404
                           application                            90,357

We emphasize that the application trips are the best estimate the public currently has access to,
given that the applicant has failed to provide the required traffic and transportation information.
The total daily trips generated are likely to be more than what we show here. The agencies
should not proceed with decisionmaking on the Bellmar permit until the applicant provides this
necessary information. To determine species effects, mitigation, or make a jeopardy

available science,90                                                                        ts
provide sufficient information to review potential adverse impacts to listed species and critical
habitat.91

II.      Bellmar Is Inconsistent with the State 404 Program, 62-331, F.A.C.

      A. The alternatives analysis is inadequate.

The project identifies an approximately 1,790-acre footprint in eastern Collier County that is
proposed for construction of a master-planned community. We note for the record that there is no



86 Traffic Impact Statement for Rivergrass SRA, Section 1, Road Segment Analysis, Trebilcock Consulting

Solutions, August 2019, Page 7.
87 Traffic Impact Statement for Longwater SRA, Section 1, Road Segment Analysis, Trebilcock Consulting

Solutions, March 2020, Page 7.
88 Traffic Impact Statement for the Bellmar SRA, Section 1, Road Segment Analysis, Trebilcock Consulting

Solutions, August 2020, Page 7.
89 Traffic Impact Statement for the Town of Big Cypress SRA, Section 1, Road Segment Analysis, Trebilcock

Consulting Solutions, June 2022, Page 7.
90 16 U.S.C. § 1536(a)(2); 404 Programmatic BiOp at 5.
91                                    pplicants submitting a State 404 permit application will be required to submit
information that allows the State of Florida (FDEP and FWC) to sufficiently assess potential adverse impacts of the
proposed project on listed species and their designated critical habitats and allow the USFWS to review and provide
technical assistance as needed (62-




                                                                                                                  22
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public benefit of the project, and rather,                                                               ened by the
Bellmar project.


is a practicable alternative to the proposed activity which would have less adverse impact on the
                      92 We dis
                                          93


The general project purpose of providing a master-planned community can be achieved while
avoiding and minimizing impacts to wetlands and listed species habitats, such as Florida panther
Primary Zone habitat and crested caracara primary nest buffer, when considering other site
alternatives, as required.94

The applicant improperly restricts the alternatives they are considering to areas that are 2,000
acres or greater, within eastern Collier, within the Collier County Rural Lands Stewardship
Program, and ECMSHCP. There may be lands with less impact to natural resources that are of a
different size and outside of these boundaries that should have been considered as an alternative.
We note the ECMHCP is withdrawn as of July 28, 2022, and cannot be relied on by the applicant
to ignore all alternatives. This change requires the applicant to redo and resubmit a new
alternatives analysis including non ECMSHCP properties.

The applicant offers no evidence, that 2,000 acres is required for a master-planned community.95
In fact, we contend that approving this type of sprawling development is damaging to the future
of Florida as it erodes the urban rural boundary and removes important agricultural lands from
production. There are many examples both in and out of Florida using smart growth design that
provide the desired number residences as well as commercial development on sites significantly
smaller than 2,000 acres.

Sustainable, compact development               which the proposed project is not          would also appeal to
                                         96, and truly ecologically minded consumers would not support

destroying important panther habitat needed for survival and recovery of the Florida panther.

Further, the applicant failed to consider other sites, even those not owned by the applicant, which
can serve the general residential and commercial uses proposed by this project in an area closer
to existing development, outside of primary panther habitat, and not adjacent to a wildlife
refuge.97 The applicant does not fully consider lands directly north of the Bellmar parcel as


92 62-331.053, Florida Administrative Code.
93 Bellmar Alternatives Analysis, April 2022, page 1.
94 Florida Department of Environmental Protection,

December 22, 2020; 62-331, Florida Administrative Code.
95 Bellmar Alternatives Analysis, April 2022, page 1.
96 Bellmar Alternatives Analysis, April 2022, page 1.
97

December 22, 2020, Appendix C, p. 57 states If it is otherwise a practicable alternative, an area not presently owned
by the applicant that could reasonably be obtained, utilized, expanded, or managed in order to fulfill the overall
purpose of the proposed activity can still be considered a practicable alternative. In other words, if an applicant does
not own an alternative parcel, that does not rule that parcel out as a practicable alternative.




                                                                                                                      23
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alternatives.

Within Parcel 5, there are more than 20,000 acres, many of which are owned by the applicant
(not a limiting factor), and others recently sold to Gargiulo (who also owns part of this pending
Bellmar project area) (see Attachment B).

The applicant appears to not consider lands to the north because of the also-proposed Rural
Lands West state 404 application, which is not a justifiable reason to exclude from the analysis.

Importantly, there are also lands to the north of both Bellmar and Rural Lands West that should
be considered as an alternative. There are lands north of Oil Well Road that are also
contemplated for future development, as evidenced by the ECMSHCP. The Conservancy of
Southwest Florida has recommended Collier Enterprises move its developments to this area since
the area would result in little to no Primary Zone panther habitat to be impacted. In fact, the
Service asked the applicant to consider this northern area as an alternative to avoid and minimize
listed species impacts, when the Rural Lands West project was seeking a permit from the U.S.
Army Corps of Engineers.98

Instead of providing an Alternatives Analysis that would satisfy the state 404 program
requirements, the applicant vies for developing the entirety of Parcel 5, with this Bellmar
application and several other proposals.

To make matters worse, the applicant provided no scenario that considered a smaller footprint, or
any footprint that would avoid the primary zone for the active caracara nest on the site or
redesign stormwater lakes to avoid wetland impacts. Most of the wetland impacts are coming
from the choice to place stormwater lakes into wetlands. With a project size of over 1,700 acres
there is no excuse to use the adjacent wetlands to dredge stormwater lakes; such development
uses could be contained within uplands.

The applic                                                  -
redesign the Project to avoid and minimize impacts. If that were true, the applicant would
                                                       99

have made a small adjustment to the footprint to avoid impacts to the primary zone of the
caracara nest in the center of the property. Avoiding this caracara primary zone would require an
alteration and avoidance of approximately 52 acres. This has never been done, and it undermines
                                                                          It is particularly egregious
                                                                                              ection
                                                   100 in light of their refusal to avoid the primary

zone of this existing caracara nest.



98 Letter from U.S. Fish and Wildlife Service to Army Corps of Engineers regarding Collier Enterprises

Management, Inc. project Town of Big Cypress dated November
alternatives analysis includes alternative project sites and configurations that avoid and minimize the impacts to
wetlands and open waters, as well as minimize impacts to endangered species. Specifically, other appli cant-owned

99 Bellmar Alternatives Analysis, April 2022, page 1.
100 Bellmar Alternative Analysis, April 2022, page 7.




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In sum, the applicant has failed to provide an adequate analysis of less damaging alternatives.
Furthermore, FDE                                               101 The impacts of the proposed

project are contrary to the public interest.

      B. The application fails to adequately analyze secondary effects.

The Bellmar project also fails to meet the requirements to adequately consider secondary
impacts. FDEP must consider secondary effects from proposed activities, particularly on
sanctuaries and refuges.102
for the preservation and use of fish and wi


wildlife habitat requirements in a way that modifies sanctuary or refuge management
            103


We note that Collier Enterprises Management Inc. discusses its
                                           its response to the request for additional information.104
But that generalized historical narrative does nothing to address the harmful impacts of the
                     on the Florida panther and other natural resources through this project. The
Bellmar project will destroy more than 1,700 acres of the most important and critical category of
delineated panther habitat, will infringe on and fragment a landscape corridor, and cause
additional panther and other species mortalities due to habitat loss and vehicle collisions, while
adding more than 8,600 new residents in an area heavily utilized by wildlife. In fact, the

Wildlife Refuge, one of the lands they mention in their history. As they note, the Refuge was
founded with the purpose of protecting Florida panthers and their habitat. 105 However, the
Bellmar project is a direct affront to this publicly held sanctuary.

The FPNWR has informally and formally shared concerns regarding both the Rural Lands West
and Bellmar projects since 2006.106 Major concerns of the FPNWR managers even then was the

community adjacent to the west side of the refuge would severely limit or prohibit prescribed

concerned that the new developments will cause more water to either be stored in retention
ponds, thereby reducing water flow into the refuge or developments will increase runoff into
Camp Keais Strand, which flows                   107 Already-altered hydrology has shifted the

land cover on the FPNWR to dense cabbage palm, and the Refuge expends considerable effort in

101 Florida Department of Environmental Protection, 2020. Stat

December 22, 2020, Section 8.3.1.
102

December 22, 2020, Section 8.3.6.
103 Florida Department of Environmental

December 22, 2020, Section 8.3.6.
104 Passarella & Associates, Inc., 2021. Bellmar Biological Assessment. July 2021, p. 1.
105 Id. at 2-4.
106 Meeting notes and staff summaries regarding Rural Lands West and Bellmar projects impacts to listed species

and impacts to FPNWR, dated 2006. Received through Freedom of Information Act request.
107 Id.




                                                                                                                  25
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vegetation management and prescribed fire to maintain the publicly-held refuge as suitable
habitat for the Florida panther and its prey.

These same concerns about degradation to the 26,400 acres of the FPNWR were echoed
repeatedly, in the Refuge staff comments on the ECMSHCP and in a letter to Collier County
when the local authorizations for Bellmar were sought.108

In a 2016 letter from FPNWR, the Panther Review Team (PRT) configuration alternative was
                                                                                109 The PRT

alternative would mean the Bellmar property would not be intensified above existing agriculture
and would not be developed (Attachment C).

Both the 2016 and 2021 letters shared concerns that development contemplated in the
ECMSHCP wo
position against roadways I-75 and State Road 29, prescribed burn can only direct smoke in the
direction of Bellmar and Rural Lands West.

While we understand that efforts were made to provide smoke easement language, future Florida
Forest Service authorizations for burning are not assured, once these massive developments are
built. If Rural Lands West and Bellmar are built, they would place about 19,170 people -a
population about the size of the City of Naples110- in direct conflict with management of the
Refuge. The FPNWR currently is the most densely occupied Florida panther habitat 111 and any
degradation or encroachment of the adjacent-proposed development would be an unacceptable
secondary impact and could also contribute to jeopardy for the Florida panther.

    C. FDEP must analyze all cumulative effects.

Under the state 404 program, FDEP must also consider the impact of cumulative effects. As in
the sections above, there are a number of projects both pending before the agency or otherwise
reasonably foreseeable, that contribute to unacceptable cumulative impacts.

From just seven state 404 applications, there would be over 1,000 acres of wetlands lost. 112
Further, FDEP is also currently considering additional proposed state 404 actions. There are 259
activities reviewed or under review as part of the state 404 program within 5 miles of Bellmar,
and 785 within 25 miles of Bellmar (Attachment D and Attachment E).113 Though these actions



108 Letter from Florida Panther National Wildlife Refuge to U.S. Fish and Wildlife Service Ecological Services Re:

Public Comment Eastern Collier Multispecies Habitat Conservation Plan and EIS, August 25, 2016; Letter from
Florida Panther National Wildlife Refuge to Collier County Planning Commission Re: Longwater and Bellmar
Village SRA Resolutions, March 1, 2021.
109 Letter from Florida Panther National Wildlife Refuge to U.S. Fish and Wildlife Service Ecological Services Re:

Public Comment Eastern Collier Multispecies Habitat Conservation Plan and EIS, August 25, 2016.
110 City of Naples census population, as of 2020.
111 Dorazio & Onorato, 2015. Estimating the Density of Florida Panthers Using Camera Trapsand Telemetry -

Report for Phase I of the Project, final report.
112 Bellmar, Rural Lands West, Hogan West, Immokalee Road Rural Village, FFD, Troyer Mine, Kingston.
113 Based on ArcGIS analysis. Feature Layer from Florida Department of Environmental Protection, Managed by

FDEPOpenDataPortal.




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may be small or large projects, the total cumulative impacts on wetlands and aquatic resources
must be considered.

       D. Bellmar will have adverse effects on aquatic ecosystems, including listed species and
          their habitats.


contribute to significant degradation of wetlands, which can include adverse effects on wetland-
dependent species, ecosystem diversity, and fish and wildlife habitat.114 Wildlife surveys
provided by the applicant show how valuable this area is for a multitude of state and federally
listed species. We address quite a bit of this in our prior letters on Bellmar, however, we provide
the new or updated information as below, including an analysis by panther habitat modeling

and unacceptable, and thus the permit should be denied.

           1. Bellmar will have unacceptable impacts on the Florida panther.

The Bellmar project site is an important area for the endangered and wetland-dependent Florida
panther. There have been 112,065 telemetry points collected from Florida panthers since 1981
through 2022, from at least 267 panthers.115 Looking at just a 5-mile area around the Bellmar
site, 8.3% of all documented telemetry points and 29.2% of all collared panthers fall within this
area.

The Bellmar project is completely comprised of Primary Zone habitat and nearly all Adult
Breeding Habitat area two models depicting the most critical lands to the survival and recovery
of the Florida panther. It is situated close to the FPNWR and a critical linkage called Camp Keais
Strand is within and adjacent to the project.

The 2020 draft HCP BiOp described a range of impacts to the Florida panther from development
in Eastern Collier:

           Increased mortality from intra-specific aggression among panthers displaced by proposed
           development and human activity;
            Increased mortality and decreased individual fitness caused by intensification of intra
           and inter- specific competition;
           Increased predation of panther kittens from other predators when preferred prey
           populations decline;
           Effects to individuals from habitat loss, degradation, and fragmentation because of new
           roads connecting new areas of development to one another and the existing road network;
           Increased injury and mortality from collisions with traffic on new roads;
           Management removal because of depredation and human/panther interactions;
           Increased exposure to disease; and
           Increased exposure to toxins.116


114 62-331.053, Florida Administrative Code.
115 https://geodata.myfwc.com/datasets/myfwc::florida-panther-telemetry/about
116
      2020 draft HCP BiOp at 125.




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To review the impacts to Adult Breeding Habitat, panther habitat modeling expert Dr. Robert
Frakes utilized a landscape-scale panther habitat model that was described in Frakes, et al,
2015.117 The model analyzes forest land cover and forest edge, human density, and road density,
amongst other factors to determine suitable breeding habitat for the panther.

Using this published model with updates, Dr. Frakes compared the existing conditions to post-
project scenario for Bellmar alone as well as Bellmar and RLW together. There is one set of

cells.


Florida is essential to the survival and recovery of the subspecies and should receive the highest
                                   118 Yet, adult breeding habitat maps show that Bellmar alone

will cause the loss of 10 km2 (2,471 acres) of breeding habitat.

When Bellmar is combined with RLW, it would cause a combined loss of 23 km 2 (5,683 acres).
The interpolated maps show a significant narrowing of the Camp Keais Strand dispersal corridor,
especially when Bellmar and RLW are considered together.

Allowing Bellmar to move forward will have unacceptable direct and indirect impacts on panther
habitat and corridor connections.




117
    Frakes, R.A., Belden, R.C., Wood, B.E. & James, F.E. (2015). Landscape analysis of adult Florida panther
habitat. PLoS One 10, e0133044.
118 Id. at 15-16.




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We note for the record that in addition to the direct impacts to areas with development, the
                                          objectives to the preserves adjacent to development will
the implemented to limit prey and foraging conditions that otherwise may attract panther and
        119 We need clarification on what this means and assurance that if permitted, the applicant

will not be seeking or be given Panther Habitat Unit (PHU) credits for lands that are actively
being managed to deter panthers. The PN states that the proposed project will need 1,793.4 acres
and the estimated PHU credits needed are 16,844.120 The PN then states that the conservation
areas of the project exceed this amount by providing 18,648 PHUs. 121 However, without a map
detailing the areas being considered, there is no way to ensure that the applicant is considering
preserves being managed to deter panthers as impacted and that these preserves are not being
used for compensation.

Further, in the 2020 draft HCP BiOp, the FWS recommended more than 25 different actions to
minimize impacts on the Florida panther, including the following:

        Maintain internal traffic capture of each development at or above 50 percent.

119 State 404 Program Public Notice for Permit Application No. 396364-001 dated August 16,2022, at 3.
120 State 404 Program Public Notice for Permit Application No. 396364-001 dated August 16,2022, at 5.
121 State 404 Program Public Notice for Permit Application No. 396364-001 dated August 16,2022, at 5.




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        Prohibit residents from keeping domestic animals (chickens, goats, etc.) that attract
        panthers and other predators.
        Require full vaccination of all pets in new developments from diseases that can be
        acquired by panthers.
        Require pets be kept indoors, leashed, or maintained in fenced enclosures at all times.
        Encourage residents to feed pets indoors and to not leave pet food dishes outside.
        Encourage residents to clean grills and store them indoors when not in use.
        Minimize the use of bird feeders and supplemental feeding stations for deer and other
        game species.
        Require residents to deer proof gardens.
        Restore agricultural lands to native habitats that are more beneficial to the panther,
        especially forested habitats, and maintain in perpetuity. 122

We have no indication from the applicant whether they are going to follow or incorporate this
advice into the proposed development. These draft recommendations should inform the
evaluation of whether the project should be authorized absent any commitment by the applicant
to implement them, for example, by informing whether the proposal is in the public interest or
meets requirements to minimize impacts. The agencies should also consider whether these
recommendations should be incorporated as binding permit terms to ensure that impacts are
minimized.

        2. Bellmar will have unacceptable impacts on the Florida bonneted bat.



(Attachment F) 123 Thus, the agencies need to look closely at not only how Bellmar would
impact proposed critical habitat, but also foraging and roosting within the project. If the Bellmar
project will impact a roost(s), there is an increased likelihood that Bellmar would also pose
jeopardy to the bonneted bat. Based on our review, the applicant has not adequately addressed
this issue.

We also note that this project is in FBB Proposed Critical Habitat (PCH), specifically Unit 3 of
the PCH (Attachment G).

    E. Ownership and other information must be addressed.

        1. Ownership within the Project Boundary

It appears that the applicant does not, in fact, own all of the property contained in the application
(Attachment H). About 503.57 acres were sold in June 2019 to Gargulio, Inc. This is 9.8% of the
5,105.49 acres. We note that Gargulio does not appear to be indicated as or listed as an adjacent
property owner and is not part of the permit notice. To our knowledge, Gargulio is also not an
applicant. While it appears that the Gargulio property is not designated as development or
conservation, it does call into question the appropriateness of including this property in the

122 2020 draft HCP BiOp at 320.
123 Passarella & Associates, Inc., 2021. Bellmar Florida Bonneted Bat Acoustic Survey Report. Prepared for Collier

Enterprises Management, Inc. July 2021.




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Bellmar 404 boundary without the documented acknowledgement of the property owner. The
agencies should determine why land not owned by the applicant is included in the boundary of
the application.

                                    Parcel ID    Acres
                                       354930004  96.88
                                       354960207   9.03
                                       354520100 225.97
                                       354480606 171.69

                                    TOTAL             503.57

This information was found on the Collier County Property Appraiser on October 15, 2021,
confirmed on August 30, 2022.

       2. The applicants have yet to comply fully with all requests for additional
          information.

In addition to the other RAI request that was not addressed, as discussed above, the following
RAI comments from the August 20, 2021 RAI letter have not been addressed in part or in full:

Excerpt from the Agency RAI:

25. Page 34 of the BA addresses incidental take of the project by referring to the HCP. The ITP
has not been issued yet. Therefore, please provide a stand-alone analysis of incidental take for
each species that will have take (as defined by the ESA) associated with the Bellmar project. In
order to remain within the State 404 process, a project must not cause jeopardy. Please provide
an analysis supporting that the Bellmar project is not likely to cause jeopardy to the panther.

The applicant response to this request is not adequate because the ECMSHCP has been
withdrawn. To date, we have not seen any new information submitted to FDEP and FWC
informing them that the ECMSHCP has been withdrawn.

Excerpt from the Agency RAI:

34. The provided plans do not seem to provide any indication of the proposed lot size. What is
the approximate site of each residential lot? How many residences are proposed or anticipated?



The applicant refers to the Town Connector as intended for commercial uses, however at least
1,000 residential units both affordable and market rate are also proposed along with the
commercial uses. The applicant should be required to answer this question completely and in
adequate detail to ensure that the impacts of its proposal, in particular the traffic-inducing
impacts, are assessed accurately.




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Excerpt from the Agency RAI:

48. What are the potential effects of the project on the Florida panther, including the direct,
indirect, interrelated, and interdependent effects? What is the extent of habitat loss that would
result from the proposed project?

The applicant avoids answering these questions. The applicant must address these issues and
answer these questions fully and directly.

Excerpt from the Agency RAI:

50. How would the proposed mitigation offset the proposed impacts to the panther?

The assessment includes a traffic analysis section but does not specifically address the extent of
the proposed traffic increases that would result from the implementation of the project. What is
the specific anticipated increase in traffic (volume, location, etc.) and how would that increase
impact the panther?

The applicant has refused to answer these questions. Particularly, in light of the analysis in the
2020 draft HCP BiOp and 2021 draft HCP BiOp, the applicant must address these issues and
answer these questions fully and directly.

III.     Conclusion

Thank you for considering our comments. We ask that you deny the Bellmar project because it
would pose unacceptable direct, indirect, and cumulative impacts, and would seal the fate of the
Florida panther. Bellmar, and other reasonably foreseeable projects, would not only remove
habitat, but also would cause increased roadkill, increase human-wildlife interaction, and pose
threats to trust resources and properties in conservation. Furthermore, Bellmar is inconsistent
with the requirements of the State 404 Program.

Please note that this letter does not constitute support for the state-assumed section 404
permitting program, which we believe is unlawful.

Sincerely,




(239) 262-
 juliannet@conservancy.org




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Bob Carey, Environmental Review Branch Manager, USFWS
Jose Rivera, Environmental Review Supervisor, USFWS
John Truitt, Deputy Secretary, FDEP
Jon Iglehart, South District Director, FDEP
Megan Mills, Permitting Administrator, FDEP
Toby Schwetje, Environmental Specialist III, FDEP
Jason Hight, Director Office of Conservation Planning Services, FWC
Jeaneanne Gettle, Director of Water Division, EPA
Rosemary Calli, Section Chief Wetlands & Streams, EPA
FWC records FWCConservationPlanningServices@myfwc.com
FDEP records SD-ERPcomments@floridadep.gov




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Attachment A




                                                                                 35
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Attachment B




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Attachment C124




124
   Florida Panther Protection Program Technical Review Team, 2009. Technical Review of the
Florida panther Protection program Proposed for the Rural Lands Stewardship Area of Collier
County, Florida. Final Report. Note that the PRT did not analyze the Big Cypress DRI (AKA
Rural Lands West) but did find that the Bellmar state 404 area should be retained in no more
intense than current agricultural uses.



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Attachment D




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Attachment E




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Attachment F125




125
      Calls indicating roost nearby at stations #1, 16, 18, 20, 26, 28.




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Attachment G




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Attachment H




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              ATTACHMENT D
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                                                                                                Ron DeSantis
                         FLORIDA DEPARTMENT OF                                                      Governor

                         Environmental Protection                                             Jeanette Nuñez
                                                                                                 Lt. Governor
                                            South District                                   Shawn Hamilton
                                            PO Box 2549                                            Secretary
                                     Fort Myers FL 33902-2549
                                    SouthDistrict@FloridaDEP.gov


                                          August 16, 2022


                                   STATE 404 PROGRAM
                                     PUBLIC NOTICE


                                Permit Application No. 396364-001

TO WHOM IT MAY CONCERN: The Department of Environmental Protection has received an
application for a State 404 Program permit pursuant to 62-331, Florida Administrative Code, as
described below:

APPLICANT:             Collier Enterprises Management Inc.
                       999 Vanderbilt Beach Road, Suite 507
                       Naples, Florida 34108
                       (239) 261-4455

LOCATION: The Project site is located in Section 34, Township 48 South, Range 28 East; and
Sections 1, 2, 3, 10, 11, 12, 15, and 22; Township 49 South; Range 28 East; Collier County.
More specifically, the Project is located east of Golden Gate Estates and is approximately 2.29
miles south of Oil Well Road (CR 858).

APPROXIMATE CENTRAL COORDINATES:
Latitude 26.219790° Longitude -81.492157°

PROJECT PURPOSE: The overall project purpose is to construct a master-planned mixed-use
community east of Golden Gatge Estates in Collier County.

PROPOSED WORK: The applicant seeks authorization to discharge dredge or fill material into
                                                horized discharges would total approximately
144 acres, and would occur in connection with construction of a master-planned mixed-use
community, including roads, utility features, pedestrian trail crossings, graded slopes along
stormwater management and development areas, and commercial areas.

The site of the village and town center is a 5,105 acre area. Planned features within that area include
an approximately 1,000 acre village, a 350 acre commercial town center, 750 acres of continued
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agriculture activities, 400 acres of water management features and other ancillary components, and
over 2,500 acres of conservation lands.

Of the 144.23± acres of wetland impacts, 132.23± acres are associated with direct wetland impacts
and 12.00± acres are associated with secondary wetland impacts. Structures to be erected on fills
include road, utility, and pedetrain trail crossings, commercial areas, and graded slopes along the
perimeters of development areas and stormwater management lakes. Excavations primarily consist
of the construction of stormwater management lakes, which are primarily located along the
perimeters of the existing agricultural fields. All wetlands and surface waters delineated using
Chapter 62-340, F.A.C. and regulated under Part IV of Chapter 373, F.S. were determined
to be waters of the United States.

The Project will be constructed in three phases that each correspond with three proposed surface
water management basins. In accordance with
Handbook, the applicant has provided a Long-Term Planning Document that addresses the phasing
                                           s 144.23± acres of WOTUS impacts, 17.65± acres are
associated with Basin 1; 79.07± acres are associated with Basin 2; and 47.51± acres are associated
with Basin 3.

EXISTING CONDITIONS: The Project area contains a variety of land cover types, including a
mix of previously-disturbed areas used for large-scale row crop production and other agricultural
purposes as well as native habitats. A total of 69 vegetative associations and land uses, as defined
by the Florida Land Use, Cover and Forms Classification System (FLUCFCS) codes, were
identified on the property. The description and locations of these land uses can been seen on the
plan drawings. The dominant land use on the property is agricultural. The land use types Cropland
and Pastureland (FLUCFCS Code 210), Row Crops (FLUCFCS Code 214), Rural Open Land
(FLUCFCS Code 260), Fallow Cropland, Hydric (FLUCFCS Code 2611), and Low Pasture,
Hydric (FLUCFCS Code 262) comprise approximately 43.7 percent (2,231.21± acres) of the site.

The native areas on-site are dominated by Cypress, Disturbed (FLUCFCS Code 6219) which
comprises approximately 23.8 percent (1,214.40± acres) of the Project site and Wetland Mixed
Hardwood Conifer, Disturbed (FLUCFCS Code 6309) which comprises approximately 9.2 percent
(470.38± acres) of the Project site.

Wetlands deemed to be jurisdictional WOTUS constitute a total of 2,283.22± acres or
approximately 44.7 percent of the Project site. The wetlands are generally forested and are
dominated by cypress with areas of cypress/pine, hydric pine, mixed wetland hardwood, and
freshwater marsh habitats. The wetlands contain varying degrees of exotic infestation including
the exotic species Brazilian pepper (Schinus terbinthifolia), primrose willow (Ludwigia sp.),
torpedograss (Panicum repens), paragrass (Urochola mutica), and trompetilla (Hymenachne
amplexcaulis). Exotic vegetation is most dense where wetlands border agricultural fields. The
hydrology of the landscape within and surrounding the Project area has been historically affected
by roadways, ditches, and permitted agricultural activities. The wetlands that would be impacted
by the project are primarily limited to lower quality wetlands which are part of the historical
agricultural operations.
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AVOIDANCE AND MINIMIZATION INFORMATION: The applicant proposes to conform to

preserve lands with the highest natural resource values and identifies certain lands with relatively
low natural resource values (such as cleared agricultural fields) for development of new
communities.

The applicant proposes to utilize existing agricultural fields for the planned development to the
extent possible and avoid and minimize direct impacts to the natural wetland habitats on-site. The
planned discharges to jurisdictional wetlands are primarily for infrastructure construction such as
road crossings and surface water management facilities.

The proposed Project would avoid impacts to the majority of the existing native habitats. For
example, the proposed Project would avoid impacts to the Camp Keais Strand located on the
                                            site plan has been designed to minimize impacts to listed
species by utilizing agriculture fields for development and preserving the majority of the natural
wetland and upland habitats on-site. Approximately 94.2 percent (2,156.97± acres) of the wetlands
on-site will be preserved. The proposal would establish 2,570.66± acres of Conservation Area.
Priority has been given to preserving higher quality native vegetation that provides habitat for
listed species.

To avoid and minimize impacts to protected species, the Conservation Area will be managed as
habitat for the listed species documented on the Project site, in accordance with a Listed Species
Management and Human-Wildlife Coexistence Plan. Management objectives for the preserves
adjacent to development will be implemented to limit prey and foraging conditions that otherwise
may attract panthers and bears; therefore, discouraging these species from accessing areas within
the development. Preserves internal to the Project site will be managed to limit panther prey species
such as white-tailed deer (Odocoileus virginianus) and feral hogs (Sus scrofa). The Project site
design includes a lake buffer between the proposed development areas and Camp Keais Strand.
The goal of this buffer is to limit potential access to development areas by large mammals. Where
construction of a lake buffer is not feasible, wildlife fencing will be constructed to deter access by
these species. Since the majority of the Project is currently an active agricultural operation, the
proposed on-site preservation, enhancement, and restoration activities (described in more detail
below) are anticipated to result in a net benefit to the conservation of fish, wildlife, listed species,
and their habitats.

COMPENSATORY MITIGATION: The proposed compensatory mitigation plan for the Project
has been designed in accordance with S
compensate for unavoidable impacts to jurisdictional waters. The proposed Conservation Area
consists of 2,570.66± acres, of which approximately 2,100.17± acres will be utilized as
compensatory mitigation for impacts to jurisdictional wetlands. The proposed mitigation for
wetland impacts includes wetland preservation and enhancement. Exotic vegetation will be hand
removed from 1,871.99± acres of wetlands. Mechanical removal of exotics and supplemental
planting will be conducted in 228.18± acres of wetlands. In addition to the compensatory
mitigation, the mitigation plan also includes the enhancement and preservation of 429.55± acres of
existing upland habitat important to the life cycle of wetland-dependent wildlife species. These
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429.55± acres are included in the mitigation plan, but are not used to offset functional loss
associated with impacts to wetlands.

The proposed compensatory mitigation is located within the same watershed as the impact site and
in a location where it is most likely to successfully replace lost functions and services. The
compensatory mitigation for the Project is located within a regional flow-way and wildlife corridor
and includes high-value habitat targeted by the Florida Forever Program within Camp Keais
Strand. The South Florida Water Management District has also identified the Camp Keais Strand
as a valuable resource for restoration and protection because it would provides attenuation of flood
peaks, water quality improvements, and long-term protection of core wetland ecosystems.

A Uniform Mitigation Assessment Methodology (UMAM) functional analysis was prepared and
provided with the application for the Project. The UMAM analysis indicates that the functional
loss associated with wetland impacts for the Project totals 70.85 functional units. The functional
gain associated with the proposed compensatory mitigation totals 128.57 functional units.
Therefore, the UMAM analysis demonstrates that the proposed compensatory mitigation will more
then offset the functional loss associated with the Project and yield a net gain of 57.72 functional
units.

The proposed mitigation would occur in three phases. Each of the three Mitigation Areas
corresponds to the basin number it offsets. Mitigation Area 1 is comprised of 645.04± acres and
results in a functional gain of 23.89 units. Mitigation Area 2 is comprised of 1,011.61± acres and
results in a functional gain of 60.21 units. Mitigation Area 3 is comprised of 873.07± acres and
results in a functional gain of 42.76 units. Therefore, each Mitigation Area generates more than
enough functional gain to offset the functional loss associated with each corresponding basin or
phase of construction.

CULTURAL RESOURCES: An archaeological and historical survey was conducted by

encompasses the project site. No archaeological or historic sites were documented during the survey.
The Florida Department of State, Division of Historical Resources (DHR) issued a letter dated August
                                                        tion. The DHR letter states that the development
of the Project site will have no effect on any historic properties eligible for listing in the National
Register of Historic Places, or otherwise of historical or archaeological value.

The Department has requested review from the State Historic Preservation Officer (SHPO) and
those federally recognized Tribes with concerns in Florida and the permit area. No comments
have been received.

FEDERALLY AND STATE-LISTED SPECIES: The Department has requested review from the
Florida Fish and Wildlife Conservation Commission (FWC) and the US Fish and Wildlife
Service (USFWS), and the below comments have been received.

FEDERALLY AND STATE-LISTED SPECIES: The project is located within the U.S. Fish
and Wildlife Service (USFW
(Polyborus plancus audubonii, Federally Threatened [FT]), Everglade snail kite (Rostrhamus
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sociabilis plumbeus, Federally Endangered [FE]), Florida scrub-jay (Aphelocoma coerulescens,
FT), Florida panther (Felis concolor coryi, FE), red-cockaded woodpecker (Picoides borealis,
FE), Florida bonneted bat (Eumops floridanus, FE), and Core Foraging Areas (CFA) for the
wood stork (Mycteria americana, FT). The project site may also provide habitat for the eastern
indigo snake (Drymarchon corais couperi, FT), gopher tortoise (Gopherus polyphemus, State
Threatened [ST]), Florida pine snake (Pituophis melanoleucus mugitis, ST), southeastern
American kestrel (Falco sparverius paulus, ST), Florida sandhill crane (Antigone canadensis
pratensis, ST), little blue heron (Egretta caerulea, ST), roseate spoonbill (Platalea ajaja, ST),
tricolored heron (Egretta tricolor, ST), Everglades mink (Neovison vison evergladensis, ST),
and Big Cypress fox squirrel (Sciurus niger avicennia, ST).

Florida Fish and Wildlife Conservation Commission (FWC) staff determined the proposed
project will have no effect on the Florida scrub-jay and red-cockaded woodpecker; and may
affect but is not likely to adversely affect the wood stork, Everglade
crested caracara. The project may affect and is likely to adversely affect the Florida panther,
Florida bonneted bat, and eastern indigo snake.

Florida Panther: The entire project site is located with the Panther Focus Area Primary Zone.
Use of the USFWS Panther Effect Determination Key, resulted in the following sequential
                                               ida panther. Florida panthers have been
documented utilizing the forested uplands and forested wetland areas on the project site based
on radio-collar telemetry points.
Passarella and Associates Inc. (PAI), the proposed project would result in impacts to 1,793.4
acres. The estimated number of Panther Habitat Unit (PHU) credits needed is 16,844 based on
                                                      ulator. The applicant has proposed to offset
potential impacts to the Florida panther through a combination of onsite preservation and
enhancement consisting of 2,391.6 acres. According to information provided by PAI, the
project would provide compensation totaling 18,648 PHUs, which is a net increase of 1804
PHUs. The applicant has indicated a willingness to evaluate and implement avoidance,
minimization, and compensation measures needed to offset potential adverse impacted to
Florida panthers associated with any roadway improvements needed to accommodate future
increases in traffic. Based on this information, the proposed pr                   and is likely to
                                              staff will work with USFWS staff, Florida
Department of Environmental Protection (FDEP) staff, and the applicant to determine any
necessary permit conditions for the State 404 permit based on this information.

Florida Bonneted Bat: The Florida bonneted bat roosts in a variety of habitats including tropical
hardwoods, pinelands, and mangroves that include tall, mature trees or other areas in which
suitable structural features for breeding and sheltering are present. Foraging habitat is comprised
of relatively open areas including open fresh water, permanent or seasonal freshwater wetlands,
within and above wetland and upland forests, agricultural lands, and man-made habitats such as
golf courses and parks. The project site is located within proposed Critical Habitat for the
Florida bonneted bat and PAI has noted that the site contains physical and biological habitat
features for bonneted bat. According to PAI, the project would result in an impact to
approximately 1,550 acres of potential foraging and/or roosting habitat, but approximately 821
acres is currently in active row crop production and provides limited foraging and roosting
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habitat. An acoustic survey for the Florida bonneted bat was performed at 30 stations located on
the property. A total of 153 Florida bonneted bat calls were recorded at 6 survey stations, with
12 identified as near the time of roosting.

The applicant has proposed to implement several Best Management Practices from the
Consultation Key. PAI indicates that the proposed project would preserve and enhance
approximately 2,571 acres of foraging and roosting habitat, resulting in an overall net increase
in permanently protected habitat, so that the impacts would not result in an overall loss of
available critical habitat for Florida bonneted bat. Based on this information, use of the
USFWS Florida Bonneted Bat Consultation Guidelines key resulted in the following sequential
determination: 1a

FDEP staff, and the applicant to determine any necessary permit conditions for the State 404
permit based on this information. The potential impacts to the Florida bonneted bat were
evaluated using the. and further coordination with USFWS staff is required.

Eastern Indigo Snake: Over most of its range, the eastern indigo snake inhabits pine flatwoods,
scrubby flatwoods, high pine, dry prairie, tropical hardwood hammocks, edges of freshwater
marshes, agricultural fields, coastal dunes, and human-altered habitats. Eastern indigo snakes
appear to need a mosaic of habitats to complete their life cycle. Wherever the eastern indigo
snake occurs in xeric habitat, it is closely associated with the gopher tortoise. No gopher
tortoise burrows were observed during the 2019-2020 surveys of the site. The project site
includes approximately 2,724 acres of habitat that could potentially be used by the eastern
indigo snake. According to information provided by PAI, eastern indigo snakes were
documented on the site during surveys conducted in 2007 and 2009. The potential impacts to
the eastern indigo snake were evaluated using the USFWS Eastern Indigo Snake Programmatic
Effect Determination Key. Use of the key resulted in the following sequential determination: A

habitat for the eastern indigo snake. The applicant has committed to following the USFWS-
approved Standard Protection Measures for the Eastern Indigo Snake during the clearing and
construction phases of the project. Based on the available information, the proposed project

with USFWS staff, FDEP staff, and the applicant to determine any necessary permit conditions
for the State 404 permit based on this information.

 Wood Stork: The project lies within the 18.6-mile buffer of the 619141, 619018 (Corkscrew),
 619316, and 619161 (North Catherine Island II) colonies and wood storks have been observed
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foraging on the property. The project site is located approximately 1.7 miles from the North
Catherine Island II nesting location. The proposed project would potentially affect suitable
foraging habitat and impacts are unavoidable. The applicant is proposing to provide on-site
mitigation which is within the appropriate CFA and of matching hydroperiod of the proposed
impacts, and the project is not contrary to the Habitat Management Guidelines for the Wood
Stork in the Southeast Region. Use of the USFWS South Florida Ecological Services Office
Effect Determination Key, resulted in the following sequential determination: A > B > C > E,
                                           the permit is conditioned on the applicant complying
with approved wetland mitigation and monitoring requirements. FWC staff will work with
USFWS staff, FDEP staff, and the applicant to determine any necessary permit conditions for the
State 404 permit based on this information.

                                                        caracara prefers habitats that contain
largely short-stature vegetation with a low density of trees, including dry or wet prairie and
improved and unimproved pasture containing scattered cabbage palms, their preferred nesting
tree. They may also be found in lightly wooded areas with scattered saw palmetto, scrub oaks,
and cypress. Seasonal freshwater marsh wetlands of less than 2.47 acres may increase habitat
                                       racaras have been observed foraging on site and a nest was
documented on-site during 2020. PAI conducted bi-weekly observations and documented that
the young fledged. PAI conducted surveys in 2021 and no nesting activity was observed on the
property. Potential nesting habitat is present on the property. The applicant intends to conduct
additional surveys and will avoid any nests during the nesting season. Based on this information,
                                                        affect but is not likel
                               FWC staff will work with USFWS staff, FDEP staff, and the
applicant to determine any necessary permit conditions for the State 404 permit based on this
information.

Everglade Snail Kite: Everglade snail kite foraging habitat consists of relatively shallow wetland
vegetation, either within extensive marsh systems, or in lake littoral zones. This species nests in
a variety of vegetation types, usually over open water and almost always in areas with good
foraging habitat nearby. Its preferred habitat is lowland freshwater marshes mostly in the
Everglades, Lake Okeechobee, Lake Kissimmee, and upper St. Johns River watersheds. Most of
the wetlands on the property are forested, but the property does contain approximately 78 acres
of potential habitat. According to information provided by PAI, an adult Everglade snail kite
was observed flying on the property during 2019-2020 surveys, and piles of apple snail shells
have been observed on the property. No nesting has been observed on the site. Based on this
information, FWC staff determined that the prop                             but is not likely to
                                            FWC staff will work with USFWS staff, FDEP staff,
and the applicant to determine any necessary permit conditions for the State 404 permit based on
this information.

Florida Scrub-Jay: The Florida scrub-jay is endemic to penins
ecosystems of oak-dominated scrub, or xeric oak scrub habitat, which occur on well-drained to
excessively well-drained sandy soils. Optimal habitat for scrub-jays is dominated by low
growing oaks (sand live oak [Quercus geminata], Chapman oak [Q. chapmanii], myrtle oak [Q.
myrtifolia], scrub oak [Q. inopina]), which are 1 to 3 meters high, interspersed with 10 to 50
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percent unvegetated, sandy openings for foraging and acorn-caching space, and a sand pine
(Pinus clausa) canopy of less than 20 percent. The project lies within the consultation area for
Florida scrub-jay, but suitable habitat for this species is not present on the site based on existing
site conditions. Based on this information, FWC staff has determined that the project would
                                                    State 404 permit conditions are necessary for
this species.

Red-Cockaded Woodpecker: The red-cockaded woodpecker lives and forages in mature pine
forests, specifically those with longleaf pines averaging 80 to 120 years old and loblolly pines
averaging 70 to 100 years old. Red-cockaded woodpeckers live in groups with a breeding pair
and as many as four helpers, usually male offspring from the previous year. Each group needs
about 200 acres of old pine forest to support it
environmental representative, PAI, conducted surveys during 2020 and 2021 and no potential
nesting cavities were observed on the property. No red-cockaded woodpeckers have been
observed foraging on the property. Based on this information, FWC staff has determined that the
                                              the red-cockaded woodpecker and no State 404
permit conditions are necessary for this species.

Gopher Tortoise: Gopher tortoises are found in dry, sandy soils in habitats such as sandhills,
xeric oak, and dry pine flatwoods. The onsite uplands represent potentially suitable habitat for
the gopher tortoise. In their Biological Assessment, PAI indicated that no gopher tortoise
burrows were observed onsite during surveys
Permitting Guidelines found at http://www.myfwc.com/license/wildlife/gopher-tortoise-permits/
can be referenced for survey methodology, measures for avoiding impacts, as well as options and
state requirements for minimizing, mitigating, and permitting. FWC staff will work with FDEP
staff and the applicant to establish appropriate avoidance measures prior to issuance of the State
404 permit that will be included as permit conditions.

Southeastern American Kestrel: The project site may provide suitable habitat for the
southeastern American kestrel, including the open field habitat present on-site. PAI conducted
surveys in March and April 2020 and observed kestrels on site but was not able to determine if
the kestrels were non-migratory. The Species Conservation Measures and Permitting Guidelines
for Southeastern American Kestrel found at https://myfwc.com/wildlifehabitats/wildlife/species-
guidelines/ can be referenced for biological information, survey methodology, measures for
avoiding impacts, and recommended conservation practices. If nesting is identified on the
project site, avoidance measures include maintaining a 490-feet (150-meter) buffer around the
nest cavity location. FWC staff will work with FDEP staff and the applicant to establish
appropriate avoidance measures prior to issuance of the State 404 permit that will be included as
permit conditions.

State-Listed Wading Birds: The forested wetlands present onsite may provide potential habitat
for wading birds, including the little blue heron, roseate spoonbill, and tricolor heron which have
been observed foraging on-site. No nesting was observed during surveys conducted in 2019-
2020. The Species Conservation Measures and Permitting Guidelines for Little Blue Heron,
Reddish Egret, Roseate Spoonbill, Tricolored Heron found at
https://myfwc.com/wildlifehabitats/wildlife/species-guidelines/ can be referenced for biological
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information, survey methodology, measures for avoiding impacts, and recommended conservation
practices. If nesting is discovered after site activities have begun, the applicant will need contact the
FWC to discuss potential avoidance measures, which include maintaining a
330-feet (100-meter) buffer around the nesting area, or other alternatives. FWC staff will work with
FDEP staff and the applicant to establish appropriate avoidance measures prior to issuance of the State
404 permit that will be included as permit conditions.

Florida Sandhill Crane: The open marsh on the project site may provide suitable foraging and nesting
habitat for the Florida sandhill crane. Florida sandhill cranes have been observed foraging on-site and
a potential nesting area was documented on the property. The Species Conservation Measures and
Permitting Guidelines for Florida Sandhill Crane found at
https://myfwc.com/wildlifehabitats/wildlife/species-guidelines/ can be referenced for biological
information, survey methodology, measures for avoiding impacts, and recommended conservation
practices. If nesting is identified on the project site, avoidance measures include maintaining a 400-
foot (122-meter) buffer around the nesting area. FWC staff will work with FDEP staff and the
applicant to establish appropriate avoidance measures prior to issuance of the State 404 permit that
will be included as permit conditions.

Big Cypress Fox Squirrel: The Big Cypress fox squirrel typically inhabit pine flatwoods, cypress
swamps and hard wood hammocks with open to moderately dense understory and shrub cover.
According to information provided by PAI, Big Cypress fox squirrels have been observed during on-
site surveys conducted in 2007-2009, 2019-2020, and during other field work on the site. The Species
Conservation Measures and Permitting Guidelines for Big Cypress Fox Squirrel
(https://myfwc.com/media/11559/bigcypressfoxsquirrelguidelines-2018.pdf) can be referenced for
biological information, survey methodology, measures for avoiding impacts, and recommended
conservation practices. FWC staff will work with the applicant and FDEP staff to establish
appropriate avoidance measures prior to issuance of the State 404 permit that will be included as
permit conditions.

Everglades Mink: The project site is located within the range of the Everglades mink and the site
contains potential habitat including ditches, freshwater marsh, and prairie. Everglades mink rely on
multiple wetland habitat types, do not avoid human activity, and frequently utilize man- made
structures such as canals and levees located near wetland habitat. Their dens, if present, may be
located near canals and wetlands. In March and April 2020, PAI conducted a camera trap survey for
Everglades mink, and none were observed or recorded. FWC staff will work with the applicant and
FDEP staff to determine any necessary permit conditions for the State 404 permit based on this
information.

OTHER INFORMATION:
Please note that, to advance the objectives of the RLSP, Collier County requested that the applicant file
an amendment to the Longwater Village Stewardship Receiving Area (SRA) to create a town SRA. The
footprint of the requested town SRA would overlap with the current Longwater Village footprint and
with the northern tip of the footprint of the Project but would not change the footprint of either
Longwater Village or the Project. The applicant agreed and filed the requested amendment with Collier
County on January 27, 2022. The outcome of the request will not be known until the County takes final
action on the potential amendment, which is not anticipated until fall of 2022 or later. Regardless of the
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                                   ent under the RLSP, the footprint, overall timing of development
and acreage of impacts (including WOTUS impacts) would not change as a result of the amendment.

COMMENTS regarding the potential authorization of the work proposed should be submitted in writing
through the business portal (Public Comment | DEP Business Portal (fldepportal.com) or to Toby
Schwetje at Florida Department of Environmental Protection, South District Office, PO Box 2549, Fort
Myers, Florida 33902-2549 within 30 days from the date of this notice. Written comments will be made
part of the record and should reference the above permit application number. Objections must be factual,
specific, and fully describe the reasons upon which any objection is founded. Any comments received
will be considered by the Department to determine whether to issue, modify, condition, or deny a permit
for this proposal. Unless a written request is filed with the Department within the 30-day public
comment period, the Department may decide on the application without a public meeting.

EVALUATION: The determination as to whether a permit will be issued, or a public meeting held, will
be based on an evaluation of all relevant factors, including the public comments received and the effect of
the proposed work on the public interest, including, but not limited to, fish, wildlife, historical resources,
and pollution. The specific permit decision criteria can be found in Chapter 62-331, Florida Administrative
Code.

The Department is soliciting comments from the public; federal, state, and local agencies and officials;
Indian Tribes; and other interested parties in order to consider and evaluate the impacts of this proposed
activity. To make this consideration, comments are used to assess impacts to endangered species, historic
properties, water quality, general environmental effects, and other public interest factors. Comments are
also used to determine the need for a public meeting and to determine the overall public interest of the
proposed activity.

FOR FURTHER INFORMATION regarding this application, please visit the State 404 Permit File at
https://depedms.dep.state.fl.us:443/Oculus/servlet/shell?command=hitlist&[freeText=]&[folderName=]
&[profile=Permitting_Authorization]&[creator=]&[entityType=any]&[createdDateTo=]&[catalog=45]
&[searchBy=Profile]&[sortBy=Facility
Site+ID]&[createdDate=]&{County=_EQ_COLLIER}&{District=_EQ_SD}&{Facility-
Site+ID=_EQ_ST404_396364}, or contact the project manager, Toby Schwetje, in writing at Florida
Department of Environmental Protection, South District Office, PO Box 2549, Fort Myers, Florida
33902-2549; by electronic mail at Toby.Schwetje@floridadep.gov, or by telephone at (239)344-5631.
Please include the permit application number referenced at the top of this page in any correspondence.

REQUEST FOR PUBLIC MEETING: Any person may request a public meeting. The request must be
submitted to SD-ERPcomments@floridadep.gov, within the designated comment period of the notice
and must state the specific reasons for requesting the public meeting.




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FDEP File No.: 396364-001 SFI
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               ATTACHMENT E
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October 27, 2022

Megan Mills, Program Administrator Permitting and Engineering
Florida Department of Environmental Protection South District
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Megan.Mills@FloridaDEP.gov

Robert Carey, Environmental Review Branch Manager
U.S. Fish and Wildlife Service
1339 20th St.
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Jason Hight, Director
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Florida Fish and Wildlife Conservation Commission
620 S. Meridian St.
Tallahassee, FL 32399
Jason.Hight@myfwc.com


RE: Immokalee Road Rural Village 404 Permit Application No. 396348-001


Dear Ms. Mills, Mr. Carey, and Mr. Hight,
The Conservancy of Southwest Florida writes on behalf of our over 6,400 supporting families to
provide additional comments on the Immokalee Road Rural Village (IRRV) state 404 permit
application currently under review (application number 396348-001). Our previous comments
addressed the original state 404 permit application that was transferred from the U.S. Army
Corps of Engineers (USACE) for this proposed project in Collier County. We are now writing in
                                                                    in response to the
                                                          . To our knowledge, no further RAIs or
response materials for the state 404 permit application have been exchanged since this date.
We continue to highlight our past concerns with this 2,787-acre project, including impacts to
water resources and listed species, as well as the cumulative effects of this and other large-scale
projects under review or permitted in the region. The habitat fragmentation, loss of wetlands, and
related impacts to upland systems in this part of southwest Florida is of increasing concern,
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especially as this project is nearby the critically important greater Corkscrew ecosystem. We ask
that the agencies thoroughly review all impacts posed by this proposed project and require the
applicant to provide additional information as indicated in questions in our previous comments
and this updated letter. The IRRV project poses a substantial risk to wetlands and listed species,
both individually and cumulatively, and we ask that the agencies deny this project.


Site plan and environmental impacts
The updated application materials indicate that wetlands were reviewed by the Florida
Department of Environmental Protection (FDEP) and the South Florida Water Management
District (SFWMD) on May 21 and June 23 and 25, 2021. 1 We request that FDEP clarify which
definition of "W                                                  utilized for this application. FDEP
must ensure consistency with the current definition of WOTUS, which the USACE and the U.S.
Environmental Protection Agency (US EPA) interpret to be the pre-2015 regulatory regime
definition.2 For this and other issues highlighted in this letter and our past comments, we ask that
the US EPA reserve its right for federal review of this 404 permit application. 3
It is evident that the site plan for the IRRV project has been updated since the original 404 permit
application materials were transferred to FDEP, and includes changes to the proposed preserve
areas, development footprint, roadways in and around IRRV, and water features on-site. As a
result of these changes, there are additional environmental impacts on-site; thus, the site plan
alterations and related impacts must be reconsidered by the permitting agencies. For example,
the FWC provided their determinations on the impact of the proposed IRRV project in a letter
dated March 15, 20224; was this based on the original footprint or on the newer proposal
submitted?
Originally, the northern preserve area extended to the eastern edge of the project area, and as we
suggested in our previous letter, the widening of this preserve area could better serve as a
connector for large mammals. We remind the agencies that the wetland ecosystems in this part of
southwest Florida constitute existing travel ways for large mammals, like the Florida panther.
This is evidenced by the fact that CR846 Immokalee Road at the site of IRRV is one of the worst
existing hotspots for Florida panther vehicle collisions; several Florida black bear have also been
killed on this stretch.5 Newly proposed alterations to the site plan now show a portion of the
preserve removed from the northwest, a narrowing of the preserve area moving east, and the



1
  IRRV Wetland Map, prepared by Passarella & Associates, Inc., (Revised February 3, 2022).
2
  USEPA, Current Implementation of Waters of the United States, accessed from:
https://www.epa.gov/wotus/current-implementation-waters-united-states
3
  State 404 Pro                 andbook, section 5.2.5, and as described in Rule 62-331.052(3), F.A.C.
4

Rural village Mixed-used Development. Posted on Oculus March 15, 2022.
5
  Southwest Florida Road Hot Spots, 2.0 Transportation SubTeam Report to Florida Panther Recovery
Implementation Core Team. June 2020, and subsequent updates.
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northeastern portion now cut off before reaching the proposed connecting road. 6 It is unclear
from the application materials if large mammal crossings have been proposed by the applicant
either on CR846 or for the internal road.
The updated proposed uplands preserve is now only approximately 265 acres in the northwestern
section and 100 acres in the southeastern section as a gopher tortoise preserve. 7 The previous site
plan shows 484.84 acres of upland preserve. 8 In addition, the site plan now shows
                   in the conservation areas, including in what could be the gopher tortoise
              9
preserve area. How will the applicant ensure minimized human-wildlife interactions, as well as
provide for continued protection of these proposed preserves, wildlife, listed species, and
compensatory mitigation areas?
The updated application materials indicate direct impacts to approximately 46 acres of wetlands
and 216 acres of other surface waters on-site. 10 While this is 1.72 acres of additional impacts to
wetlands, the most recent UMAM data submitted as part of the related ERP application indicates
greater loss of wetland functional units. The applicant now proposes approximately 153 acres of
wetland preservation and enhancement to offset these direct wetland impacts, as well as to offset
the loss in prey biomass for the federally threatened wood stork. It appears that the Mitigation,
Monitoring and Maintenance Plan included in the 404 application RAI response was updated in
February 2022; however, this document no longer includes proposed acreage impacts and
mitigation lift/gain numbers to support the narrative. Instead, the November 2021 OCULUS
upload of the SFWMD ERP Environmental Supplement materials includes a UMAM analysis,
which shows                                                             ional units would be 10.10
units (down from the estimated 13.93 units in the July 2020 UMAM analysis). 11 Further, the
                                            submitted to SFWMD in August 2022, shows updated
scoring, additional functional units lost, and even lower functional units gained after now
utilizing the upland preservation and enhancement areas to supplement mitigation. 12 As a result,
we ask: what supporting data are the permitting agencies reviewing? Are the agencies aware of
the site plan alterations and the modifications to related impacts and proposed mitigation
provided in updated materials in the related ERP application?


6
  IRRV Conservation Areas Map, Prepared by Passarella & Associates, Inc. (Revised February 3, 2022). The
intended land uses for the portions of the preserve that are now removed are unclear.
7
  IRRV, Biological Assessment, prepared by Passarella & Associates, Inc., (Revised February 2022).
8
  IRRV Impact Map Dwg No. 99WAI374-15, (October 21, 2019), Received by FDEP on December 28, 2020.
9
  IRRV Wetland Mitigation and Monitoring Plan, (Revised February 3, 2022), prepared by Passarella and
Associates Inc.; IRRV Preserve Area and Listed Species Management Plan, Exhibit 43A, (Revised February 7,
2022), prepared by Passarella & Associates, Inc.
10
   IRRV, Biological Assessment, (Revised February 2022). Prior application materials indicated approximately 44
acres of direct impacts to wetlands and 201 acres of impacts to other surface waters (see November 19, 2019
application materials from 404 permit application to US Army Corps of Engineers as transferred to FDEP).
11
   IRRV Environmental Supplement for SFWMD ERP, (November 2021), prepared by Passarella & Associates,
Inc., received electronically by FDEP South District on December 15, 2021.
12
   IRRV UMAM Analysis, (Revised August 2022), submitted to SFWMD ERP application RAI response August
17, 2022. The applicant states that 3.74 functional units will be gained, though there appears to be errors in
calculations as indicated in the SFWMD RAI letter dated September 16, 2022.
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The applicant continues to suggest that the proposed restoration and enhancement would fully
compensate for wetland functional loss; however, in the May 4, 2022 and September 16, 2022
RAI letters                     related ERP application, SFWMD indicated that the proposed
mitigation is insufficient to offset the wetland impacts. 13 In light of the site plan alterations and
impacts and mitigation changes, what less damaging alternatives 14
practicable changes to the project plan to avoid or minimize the environmental impact of the
          15
             have been considered and analyzed by the applicant? We also ask that FDEP require
an updated and full accounting of the proposed compensatory mitigation be provided to support
                  proposed on-site mitigation, and that FDEP thoroughly review the proposed
mitigation as required by the State 404 Program. As this proposed development relies on
compensatory mitigation to offset impacts to wetlands and listed species, accurate and uniform
data are crucial for a comprehensive review and assessment of whether the proposed mitigation
                                                                           16
fulfills the criteria established in the State


Listed Species
The updated Biological Assessment included in the RAI response shows that listed species
surveys for the project site were conducted in 2018 and 2019. 17 The applicant reported that
crested caracara nesting surveys were performed January through April 2020, and that this and
past site surveys have observed caracara utilizing the site for foraging. Due to the presence of
caracara, the applicant should perform updated caracara survey and also account for any nests
that are off-site but where the project falls within the 1,500 meter protective buffer area,
consistent with USFWS survey policy. 18 Florida Bonneted Bat acoustic and roost surveys were
completed in 2020. The updated materials show red cockaded woodpecker (RCW) surveys from
2007.19
The entirety of the project site is within the Panther Primary and Secondary Zones. The updated
Biological Assessment shows that the loss of Panther Habitat Units (PHUs) is now estimated at
6,227 (569 PHUs more than was previously estimated). In addition, as included in the updated
materials,                panther vehicle mortality study, completed in October 2020, found that

                                                                                           20
vehicle-related panther deaths are projected to increase due to Project traffic                 Mortality from

13
   SFWMD, (May 4, 2022), Request for Additional Information ERP application number 211207-32383, item
number 12; SFWMD (September 17, 2022), Request for Additional Information, item numbers 9 and 10.
14
   62-331.053, F.A.C.
15
                                                 (i).
16
   Stat                               ection 8.5.5 Use of Preservation as Compensatory Mitigation. Under the state
                                                                                                -331.130, F.A.C.
17
   IRRV Biological Assessment, (revised February 2022), p. 3.
18
   USFWS, 2017. USFWS Crested Caracara Draft Survey Protocol, Additional Guidance.
19
   The USFWS October 2016 Endangered Species Act Consultation Checklist (Service Consultation Code 2020-TA-
1186) asked the applicant to provide a previous survey report from 2015 for the RCW. We are unable to locate this
in the application materials submitted with the February 17, 2022 RAI response.
20
   IRRV Biological Assessment, (revised February 2022), p. 19.
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panther-vehicle collisions is a major threat to the species and population expansion, and as we
previously indicated, the western border of the proposed IRRV development (Immokalee Road)
is one of the top eight deadliest areas for panthers (and the site is also Primary Zone habitat and
Adult Breeding Habitat). As recently as July 9, 2022, FWC announced that a four-year old
female panther was struck and killed by a vehicle on Immokalee Road, directly next to the
proposed development.21 The potential for increase in panther mortality due to traffic from the
proposed project needs to be fully considered by the permitting agencies and adequately avoided,
minimized, and mitigated.
We remind the agencies that the Biological Assessment states that 113 gopher tortoise burrows
were identified on site.22 The applicant proposes to relocate gopher tortoises          -site
                     which we understand could be the southeastern proposed preserve area. 23
Considering that this area is approximately 100 acres, this preserve might be able to
accommodate less than half of the gopher tortoises potentially located on-site. 24 Further, this map
includes species survey data from 2018, and without updated data it is unclear how many
potentially occupied gopher tortoise burrows are currently on-site and how this would influence
the avoidance and minimization needed to adequately protect this state-designated threatened
species.
worth of offsite gopher tortoise relocation site capacity left available statewide. 25 The continued
permitting of gopher tortoises to be relocated offsite at levels seen in the past two years
(approximately 19,000 tortoises in 2021 and over 11,000 tortoises in 2022, as of July) is not
sustainable; the agencies must work with this applicant to ensure that the gopher tortoise
preserves are appropriate and large enough to accommodate all gopher tortoises from the site,
and that preservation of the existing burrows in place are maximized.
This project is also within the core foraging area of five wood stork colonies; the closest of
which is less than two miles away at the historic Corkscrew Swamp Sanctuary. The analysis of
the cumulative effects to the wood stork does not appear to have been updated, as the analysis
references data from 2016 to 2019.26 The updated Biological Assessment shows that the project
would pose an even greater risk to wood stork prey biomass than what was proposed in the
original application (now estimated at 1,040 kilograms of biomass loss versus 945.95 kg of
biomass loss in the initial application). The Biological Assessment references calculations using

21
   FWC Panther Pulse, 2022 data, accessed from: https://myfwc.com/wildlifehabitats/wildlife/panther/pulse/.
22
   IRRV Biological Assessment, USFWS 2020-TA-1186, (Revised February 2022), Prepared by Passarella &
Associates, Inc., p. 6.
23
   IRRV Preserve Area and Listed Species Management Plan, Exhibit 43A, (revised February 7, 2022).
24
   Figure 7, IRRV Aerial with Listed Species Locations, (July 12, 2019), in Exhibit 6, IRRV Updated Listed Plant
and Wildlife Species Survey, Revised July 2019. As of this survey, it appears that the proposed preserve area in the
southeastern portion has approximately 70 burrows alone.
25
   Preservation at Marco Island Summer School, July 2022. Estimate by FWC staff as about 15,000 spaces left in
capacity for offsite relocation of gopher tortoises statewide. FWC staff stated that in 2021 there were 2,300 offsite
relocation permits granted for about 19,000 tortoises, and in 2022 there had been over 1,440 offsite relocation
permits for over 11,000 tortoises.
26
   Figure 7, IRRV Aerial with Listed Species Locations, (July 12, 2019), in Exhibit 6, IRRV Updated Listed Plant
and Wildlife Species Survey, Revised July 2019, pp. 11-12.
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the USFWS wood stork compensation calculator in Exhibit 39; however, we are unable to locate
the updated calculations to support the changes described in the narrative. 27 In addition, the FWC
Notice, dated March 15, 2022                                      , states the proposed project is
                                                           applicant proposing to provide
                                             28
mitigation at an approved mitigation bank       However, the application materials state that the
applicant intends to                                                           -site restoration and
enhancement activities, particularly in the form of preserving and enhancing 152.85+/- acres of
existing wetlands 29 Is this the same area as that which is intended to provide compensatory
mitigation for the direct impacts to wetlands? We would also appreciate clarification on the
updated biomass loss calculations and information regarding the proposed mitigation included in
the FWC Public Notice Response document and the application materials.


Cumulative and secondary effects
The cumulative and secondary effects to wildlife, wetlands, and other natural resources must be
fully accounted for, analyzed by the applicant, and considered by the agencies during permit
review. There are now over 540 state 404 permit applications within 10 miles of the IRRV site,
including similar large development projects that would add over 15,000 new homes to this area
(see Attachments A and B).30 In terms of secondary effects, we remind the agencies that the
proposed project would be located near the protected lands and wetland ecosystems of the
Corkscrew Swamp Sanctuary and Corkscrew Regional Ecosystem Watershed (CREW). As such,
a secondary effects analysis per the                                 , Section 8.3.6, should be
required for this project. As FDEP and the Water Management Districts continue to receive more
404 and ERP applications than originally anticipated, the cumulative and secondary impact
analyses for this project must be updated for an informed review of the considerable amount of
development taking place in this part of southwest Florida.


Conclusion
We appreciate the opportunity to submit additional comments on this project and hope that this
information will assist with a thorough review of the impacts of this project on water resources
and listed species. Given its size, location, and impacts on natural resources and listed species
both individually and cumulatively, we ask that you deny this project. Should this project move
forward, we continue to request that FDEP hold a public meeting for this application and ask that

27
                                                                                       , p. 5; table in Appendix D Wood
Stork Suitable Foraging Prey Base Loss; and Appendix E IRRV Wood Stork Compensation Calculator May 8, 2020.
28
                                                                             esponse, Immokalee Road Rural Village
Mixed-used Development State 404 Permit App. No. 396348-001, Collier County, (dated March 15, 2022).
29
   IRRV Biological Assessment, (Revised February 2022), p. 21.
30
   Feature Layer from Florida Department of Environmental Protection, State 404 Program Permits, accessed from:
https://geodata.dep.state.fl.us/, track State 404 Program facilities and sites which have applied for various
environmental and/or regulatory permits, with additional fields added to allow better querying of data. Other
proposed large development projects include Rural Lands West, Hogan West, and Bellmar.
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the US EPA reserve its right to object to a permit application should additional information be
uncovered during the public notice comment period. This comment letter does not constitute
support for the state-assumed Section 404 permitting program, which we believe is unlawful.
FDEP, the wildlife agencies, and US EPA should use every latitude in the framework to fully
review this permit application.
Thank you again for your consideration of our comments and if you have any questions, please
contact me at (239) 430-2467.


Sincerely,




Jessica P. Wilson, Ph.D.
Senior Water Policy Specialist
jessicaw@conservancy.org


cc:
Toby Schwetje, FDEP
Jennifer Carpenter, FDEP
John Truitt, FDEP
Jose Rivera, USFWS
Jeaneanne Gettle, US EPA
ConservationPlanningServices@MyFWC.com
SD-ERPcomments@floridadep.gov
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Attachment A
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Attachment B
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               ATTACHMENT F
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June 7, 2022                                                                             sent via email

Laura Layman, Section Leader
South Florida Water Management District
2301 McGregor Boulevard
Fort Myers, Florida 33901
llayman@sfwmd.gov

Jason Hight, Acting Director
Office of Conservation Planning Services
Florida Fish and Wildlife Conservation Commission
620 S. Meridian St.
Tallahassee, FL 32399
Jason.Hight@myfwc.com


Re: FFD Corkscrew Road Property, #211005-7746

Dear Ms. Layman and Mr. Hight,

On behalf of our more than 6,400 supporting families, the Conservancy of Southwest Florida is
providing comment on FFD Conceptual Environmental Resource Permit Application No. 211005-7746.
We again request that this project be designated a Project of Heightened Public Concern and that the
public be provided an opportunity to give verbal comment about this project at an upcoming Regulatory
Meeting before the South Florida Water Management District (SFWMD) decides whether or not to grant
this permit.

As the applicant has not addressed our concerns from November 2021, many of our issues remain the
same and we refer you to our November letter for additional details.

Listed Species Survey Too Old To Reliably Meet Issuance Criteria

The Environmental Resource Permit (ERP) rule and handbooks stipulate that proposed activities cannot
adversely impact fish and wildlife wetland habitat functions. 1 This includes impacts to the abundance
and diversity of listed species, or the habitat of those species.




1
                                                                     tion 10.2.2.
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Further, to meet the additional conditions for issuance of individual permits, the SFWMD must know
whether the proposed activities will adversely affect the conservation of fish and wildlife, including
endangered and threatened species, or their habitats. 2

It is not possible to provide these reasonable assurances as the applicant relies on listed species surveys
conducted in 2007 and 2008. Data that is more than a decade old - some 15 years old - cannot meet the
requirements of the SFWMD, and should not be deemed as adequate. The environmental supplement
repeatedly refers to the protected species survey done in 2007 and 2008. 3 While there is publicly
available data for some species (such as the Florida panther, Florida black bear, and wood stork), most
listed species do not have this resource available and on-site surveys are necessary.

Comment 20 from the Request for Additional Information dated November 4, 2021 requires an updated
wildlife survey, conducted within the past year. This request was ignored as all documents in the
revised plans refer to the listed species surveys conducted in 2007 and 2008. Please reiterate your
request for an updated wildlife survey, conducted within the past year.

Impacts to Listed Species and Their Habitats

Further, of the information we do know of this proposed project, it would have adverse impacts on listed
species and their habitats, and would be contrary to
Handbook Section 10.2.3.4

Florida Panthers
The applicant is proposing to impact 555.3 acres of primary panther habitat while there are 404 acres of
secondary habitat outside of the impact footprint. 5 If the applicant were to slightly compress and modify
their footprint, the development could avoid most if not all primary panther habitat.

Kautz et al. (2006)6 is considered best available science and recognizes the habitat areas delineated in
the study as crucial for Florida panther recovery. 7 The area defined as the Primary Zone is the minimum
                                     is barely viable demographically as long as the habitat base remains
                                                                                                 8
                                                                                                   The
delineated habitat zones are essential to long-term viability, survival, and recovery of the species, yet
this project proposes to destroy more than a thousand of acres of panther habitat. We note that panther
habitat is not mentioned in the provided survey dated 2008.



2
  62-330.302, Additional Conditions for Issuance of Individual and Conceptual Approval Permits.
3
  FFD Corkscrew Road Property Listed Species Management and Human-Wildlife Coexistence Plan, April 2022.
4
  Environmental Resource Permit,                 andbook, Vol. I, Section 10.2.3.
5
  We acknowledge that there is an area designated as a wildlife corridor in the center of the impact area, however, as that
area is not designed to facilitate movement of large mammals (or any animals, discussed below), we are including this area
as part of the impact area.
6
  Kautz, R. et al, How much is enough? Landscape-scale conservation for the Florida panther, BIOLOGICAL CONSERVATION
130 (2006) 129
7
  US Fish and Wildlife Service, 2008. Florida Panther Recovery Plan, 3 rd Revision.
8
  Kautz, R. et al, How much is enough? Landscape-scale conservation for the Florida panther, BIOLOGICAL CONSERVATION
130 (2006) 129
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                                                                                                       9
                                                                                               . Scientists
modeled Adult Breeding Habitat for the species and have stated that protecting this remaining breeding
habitat in south Florida is essential to the survival and recovery of the Florida panther. 10 Further loss of
adult panther breeding habitat is likely to reduce the prospects for survival of the existing population,
and decrease the probability of natural expansion of the population into south-central Florida. 11

The proposed development area impacts 1,372.6 acres of Adult Breeding Habitat.

The applicant should consider an alternative that would reduce these proposed impacts through a more
compact, walkable community that is built only on secondary panther habitat rather than impacting both
primary and secondary panther habitat.

The Florida Panther Recovery Plan indicates that while loss and fragmentation of habitat is the leading

intensification of disturbance 12 Frakes et al, 2015, also shows that panthers begin to avoid areas with
increasing density of people and density of roadways. 13 Being directly adjacent to heavily utilized
wildlife habitat, this intensification of use has the potential to seriously impact both the function and
value of these areas for the Florida panther and wildlife in general.


Caracara were observed on the site in 2007 and 2008. 14

conducted in more than a decade.

Red-Cockaded Woodpecker
We note that evidence of several red-cockaded woodpecker (RCW) cavity trees were observed on site
according to Table 1 of the environmental supplement. 15

Wood Storks
The proposed FFD project is also within the Core Foraging Area (CFA) of 3 active wood stork colonies.

The applicant should address each of the foraging areas separately and cumulatively as to impacts, as the
applicant needs to ensure each colony will have adequate foraging habitat. We also believe that impacts
for other developments in each CFA must be looked at cumulatively.



9
   Frakes RA, Belden RC, Wood BE, James FE (2015) Landscape Analysis of Adult Florida Panther Habitat. PLoS ONE 10(7):
e0133044. https://doi.org/10.1371/journal.pone.0133044
10
    Ibid.
11
    Ibid.
12
  US Fish and Wildlife Service, 2008. Florida Panther Recovery Plan. P. viii. P.33.
13
   Frakes RA, Belden RC, Wood BE, James FE (2015) Landscape Analysis of Adult Florida Panther Habitat. PLoS ONE 10(7):
e0133044. https://doi.org/10.1371/journal.pone.0133044
14
   FFD Corkscrew Road Property Environmental Supplement for the South Florida Water Management District
Environmental Resource Permit, October 2021, p.4.
15
   FFD Corkscrew Road Property Environmental Supplement for the South Florida Water Management District
Environmental Resource Permit, October 2021. P.4.
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Cumulative and Secondary Impacts

If a large development, such as proposed by FFD, is approved, it could have devastating secondary and
cumulative impacts on critically-important landscapes in southeast Lee County and into Collier County.
If FFD is approved, it has the potential to change water quality, water quantity, hydrology, increase
invasive plants and animals, and contribute to light pollution.

The applicant must address the plethora of alternative sites already approved along Corkscrew Road for
Master Planned Communities, and explain why building additional housing along Corkscrew Road is
better/more efficient/less impactful than infill and redevelopment in more urbanized areas in Lee
County. The applicant has failed to show why this development would not result in adverse direct,
secondary, and cumulative environmental impacts.

Conclusion

Thank you for considering our comments and we hope that this will help assist in your evaluation of the
impacts of the FFD Project on water resources and listed species. Eastern Lee and Collier counties
natural resources are extremely threatened by continuing mining and development, and FFD in
particular is located within an area heavily utilized by listed and wetland-dependent species, a regional
corridor, and is adjacent to critical conserved lands.


Sincerely,




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Cc:
Melissa Roberts, SFWMD mroberts@sfwmd.gov
Jennifer Smith, Chief of Staff, South Florida Water Management District, jsmith@sfwmd.gov
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